         Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 1 of 81




                        IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

                                                              )
In re:                                                        )      Chapter 11
                                                              )
SORRENTO THERAPEUTICS, INC., et al.,1                         )      Case No. 23-90085 (DRJ)
                                                              )
                                    Debtors.                  )      (Jointly Administered)
                                                              )
                                                              )      Related Docket No. 1316

                        NOTICE OF CLOSING OF SCILEX STOCK SALE
                        AND RELATED DEFINITIVE DOCUMENTATION

PLEASE TAKE NOTICE THAT:

        On February 13, 2023, Sorrento Therapeutics, Inc. (“Sorrento”) and Scintilla
Pharmaceuticals, Inc. (together, the “Debtors”) each filed voluntary petitions for bankruptcy
relief under chapter 11 of title 11 of the United States Code in the United States Bankruptcy
Court for the Southern District of Texas (the “Court”).

       On August 7, 2023, Sorrento and Oramed Pharmaceuticals Inc. (“Oramed”) entered into
a Stock Purchase Agreement (as amended, the “Oramed SPA”) for the sale of substantially all of
Sorrento’s equity interests (consisting of common stock, preferred stock, and warrants for
common stock) in Scilex Holding Company (“Scilex”), which the Court approved on August 30,
2023 [Docket No. 1267] (the “Oramed Sale Order”). The sale contemplated under the Oramed
SPA did not close.

       On September 12, 2023, the Court entered an order approving the sale by Sorrento to
Scilex of all of Sorrento’s equity interests (common stock, preferred stock, and warrants for
common stock) in Scilex (the “Sale”) [Docket No. 1316] (the “Scilex Sale Order”). The Scilex
Sale Order conditionally vacated the Oramed Sale Order and conditionally terminated the
Oramed SPA, each effective upon the closing of the Sale.

      On September 21, 2023, Sorrento and Scilex closed the Sale, and Sorrento, Scilex, and
Oramed entered into various transaction documents related thereto. This includes the Stock
Purchase Agreement between Sorrento and Scilex, which is attached hereto as Exhibit A.




1
    The Debtor entities in these chapter 11 cases, along with the last four digits of each Debtor entity’s federal tax
    identification number, are: Sorrento Therapeutics, Inc. (4842) and Scintilla Pharmaceuticals, Inc. (7956). The
    Debtors’ service address is: 4955 Directors Place, San Diego, CA 92121.
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 2 of 81




       In connection with the Sale:

                 Sorrento and Oramed entered into a Mutual Termination and Release
                  Agreement (attached hereto as Exhibit B), mutually terminating the Oramed
                  SPA and releasing the parties’ obligations thereunder;

                 Sorrento, Scilex, and Oramed entered into an Assignment, Assumption and
                  Release Agreement (attached hereto as Exhibit C), whereby Scilex assumed
                  the Debtors’ obligations under their senior postpetition financing facility with
                  Oramed;

                 Sorrento, Scilex, and Paul Hastings LLP entered into an Assumption and
                  Assignment of Legal Fees and Expenses (attached hereto as Exhibit D),
                  whereby Scilex assumed Sorrento’s obligations to Paul Hastings LLP; and

                 Scilex delivered a Credit Bid Pay-Off Letter to Sorrento (attached hereto as
                  Exhibit E), confirming that Scilex’s junior postpetition financing facility with
                  Sorrento has been satisfied in full with no obligations remaining thereunder.

        All documents filed in these chapter 11 cases are available free of charge by visiting
https://cases.stretto.com/Sorrento or by calling (833) 278-6637 (toll-free) or (949) 471-0454
(international). Copies of any pleadings or papers filed with the Court may be obtained by
visiting the Court’s website at https://ecf.txsb.uscourts.gov in accordance with the procedures
and fees set forth therein.




                                               2
        Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 3 of 81




Dated: September 21, 2023          /s/ Kristhy M. Peguero
                                   JACKSON WALKER LLP
                                   Matthew D. Cavenaugh (TX Bar No. 24062656)
                                   Kristhy M. Peguero (TX Bar No. 24102776)
                                   Genevieve M. Graham (TX Bar No. 24085340)
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                                   – and –

                                   Caroline Reckler (S.D. Tex. Bar No. IL6275746)
                                   Ebba Gebisa (admitted pro hac vice)
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                                   – and –

                                   Jeffrey E. Bjork (admitted pro hac vice)
                                   Kimberly A. Posin (admitted pro hac vice)
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                                           kim.posin@lw.com

                                   Counsel to the Debtors
        Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 4 of 81




                                    Certificate of Service

       I certify that, on September 21, 2023, I caused a copy of the foregoing document to be
served by the Electronic Case Filing System for the United States Bankruptcy Court for the
Southern District of Texas.

                                                   /s/ Kristhy M. Peguero
                                                   Kristhy M. Peguero
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 5 of 81




                           EXHIBIT A

                     Stock Purchase Agreement
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 6 of 81

                                                        Execution Version
                                                        CONFIDENTIAL




                 STOCK PURCHASE AGREEMENT



                        BY AND BETWEEN




                   SCILEX HOLDING COMPANY



                              AND



                 SORRENTO THERAPEUTICS, INC.



                        September 21, 2023
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 7 of 81




                             STOCK PURCHASE AGREEMENT

        THIS STOCK PURCHASE AGREEMENT is made and entered into as of
September 21, 2023 (this “Agreement”), by and between Scilex Holding Company, a Delaware
corporation (the “Purchaser”) and Sorrento Therapeutics, Inc., a Delaware corporation (the
“Seller”). Purchaser and the Seller are sometimes individually referred to in this Agreement as a
“Party” and collectively as the “Parties.”

                                           RECITALS:

        WHEREAS, on February 13, 2023, the Seller and its wholly owned Subsidiary, Scintilla
Pharmaceuticals, Inc. (“Scintilla”), commenced voluntary proceedings under Chapter 11 of the
Bankruptcy Code in the Bankruptcy Court, which are being jointly administered under the caption
In re Sorrento Therapeutics, Inc., et al.;

        WHEREAS, on July 28, 2023, the Seller and Scintilla, as borrowers (in such capacity, the
“Borrowers”), entered into that certain Junior Secured, Super-Priority Debtor-in-Possession Loan
and Security Agreement (the “Junior DIP Loan Agreement”) with the Purchaser, as lender (in such
capacity, the “Junior DIP Lender”), pursuant to which the Borrowers obtained $20,000,000 of
junior post-petition financing (the “Junior DIP Facility”);

        WHEREAS, the Seller desires to sell, convey, transfer, assign and deliver to the Purchaser,
and the Purchaser desires to purchase and acquire from the Seller, those securities of the Purchaser
listed on Schedule I attached hereto (the “Purchased Securities”), on the terms and subject to the
conditions set forth in this Agreement; and

       WHEREAS, the transactions contemplated by this Agreement (collectively, the
“Transactions”) will be consummated pursuant to and in accordance with the Bid Procedures Order
and the Sale Order (each as defined below), pursuant to Sections 105 and 363 of Title 11 of the
United States Code, 11 U.S.C. §§ 101, et seq, as amended (the “Bankruptcy Code”).

       NOW, THEREFORE, in consideration of the foregoing and the mutual agreements,
covenants, representations and warranties set forth herein, and in order to prescribe the terms and
conditions of such purchase and sale, intending to be legally bound, the Parties agree as follows:

1.     PURCHASE PRICE; DEPOSIT; TREATMENT OF JUNIOR DIP LOAN.

Pursuant to Section 363 of the Bankruptcy Code and on the terms and subject to the conditions of
this Agreement, on the Closing Date (as defined below) and effective as of the Effective Time (as
defined below), the Seller shall sell to the Purchaser, and the Purchaser shall purchase from the
Seller the Purchased Securities listed on Schedule I attached hereto, free and clear of any
Encumbrances or Liabilities. The aggregate consideration for the Purchased Securities shall be (i)
$100,000,000 which such amount is satisfied by the Oramed DIP Assumption (the “DIP Amount”)
plus (ii) a credit bid, on a dollar-for-dollar basis, pursuant to Section 363(k) of the Bankruptcy
Code, in respect of any and all amounts of principal and accrued but unpaid interest outstanding,
and any other obligations of Sorrento or Scintilla, in each case, under the Junior DIP Facility as of
the Closing Date (the “Credit Bid Amount”) plus (iii) $5,000,000 which the Purchaser paid to the
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 8 of 81




Seller on September 13, 2023 as an advance payment of the Purchase Price (as defined below) (the
“Advance Payment”) plus (iv) $5,000,000 which the Purchaser shall pay to the Seller on the
Closing Date (the “Closing Payment”) plus (v) the assumption and assignment of all of the
obligations of the Seller to Paul Hastings LLP for legal fees and expenses reflected in Paul Hastings
LLP’s proof of claim #238 filed with the Bankruptcy Court in the amount of $12,249,244.09 (the
“Legal Fee Assumption” and, together with the DIP Amount, the Credit Bid Amount, the Advance
Payment and the Closing Payment, the “Purchase Price”). Notwithstanding anything to the
contrary in this Agreement, the amount of Purchased Securities and Purchase Price per share shall
be appropriately adjusted in the event of any stock split, dividend, stock combination,
reclassification or similar transaction occurring prior to the Closing Date. For the avoidance of
doubt, Purchaser will not assume any Liabilities, accounts payable, notes payable, expenses or
other obligations of Seller or its Affiliates.

2.     CLOSING.

        (a)     The sale and purchase of the Purchased Securities shall be effected by the Seller
delivering to SCLX Stock Acquisition on the Closing Date duly executed certificates or other
instruments evidencing the Purchased Securities with instruments of transfer reasonably
satisfactory to the Purchaser (duly endorsed or otherwise in such form sufficient for transfer),
against delivery by the Purchaser to the Seller of the Purchase Price. The Purchase Price shall be
paid by Purchaser to the Seller on or prior to the Closing Date in accordance with Section 1, with
the Closing Payment being paid by wire transfer of immediately available funds in U.S. dollars to
an account designated by the Seller to the Purchaser in writing no later than two Business Days
prior to the Closing Date.

        (b)     The Purchaser will notify its transfer agent of the proposed Closing Date, and the
Seller will deliver to the Purchaser or such transfer agent documentation reasonably requested by
the Purchaser or such transfer agent to effect the book-entry transfer of the Purchased Securities
by the Seller to the Purchaser. The Purchaser and/or its transfer agent will transfer the Purchased
Securities to the Purchaser in a restricted book-entry position on the books of the transfer agent
and register the Purchaser as the registered owner of the Purchased Securities as of the Effective
Time. The Seller will cooperate with the Purchaser and will use reasonable best efforts to transfer
the Purchased Securities in the manner preferred by the Purchaser.

        (c)    The closing of such sale and purchase of the Purchased Securities (the “Closing”)
shall take place immediately following the execution of this Agreement, remotely by conference
call and electronic exchange of documentation, at 10:00 a.m. New York time, or by such other
means or at such other date and time as the Parties shall mutually agree (the date of the Closing,
the “Closing Date” and the time of the Closing, the “Effective Time”).

3.     REPRESENTATIONS AND WARRANTIES OF THE SELLER.

        The Seller represents and warrants to the Purchaser, subject to such exceptions as are
disclosed in the disclosure schedule (the “Seller Disclosure Schedule”) delivered by the Seller to
Purchaser concurrently with the execution and delivery of this Agreement as follows:




                                                 3
       Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 9 of 81




       (a)    Organization. The Seller is a corporation duly organized, validly existing and in
good standing under the laws of the State of Delaware.

        (b)    Authority. The Seller has authorized the execution, delivery and performance of
this Agreement and each of the transactions contemplated hereby, and, upon entry and
effectiveness of the Sale Order (as defined below), no other action will be necessary to authorize
such execution, delivery and performance. Subject to and assuming the entry and effectiveness of
the Sale Order, this Agreement constitutes a legal, valid and binding obligation of the Seller,
enforceable against the Seller in accordance with its terms.

        (c)     No Violation; Consents.

                (i)     No consent, approval, authorization or order (each a “Consent”) of any
federal, municipal, state, local or foreign governmental, administrative, taxing or regulatory
authority, department, agency, commission or body (including any court, arbitrator, or similar
tribunal) (each a “Governmental Authority”) having jurisdiction over the Seller is required for the
execution, delivery or performance by the Seller of its obligations hereunder, including without
limitation the sale of the Purchased Securities, except for (A) the entry of the Sale Order by the
Bankruptcy Court (as defined below) and (B) such consents, approvals, authorizations or orders
as have already been obtained or granted.

                (ii)     Except to the extent excused by or unenforceable as a result of the
Bankruptcy Case (as defined below) and except for the entry and effectiveness of the Sale Order,
neither the sale of the Purchased Securities nor the performance of the Seller’s obligations
hereunder will violate, conflict with, result in a breach or termination of, extinguish any material
rights, or constitute a default (or an event that, with the giving of notice or the lapse of time, or
both, would constitute a default) under (i) the certificate of incorporation, bylaws or other
Organizational Documents of the Seller (ii) any decree, judgment, order, law, treaty, rule,
regulation or determination of any Governmental Authority (“Laws”) having jurisdiction over the
Seller or any of its respective assets or properties, or (iii) the terms of any Material Contract, except
in each case as would not reasonably be expected to have the effect of preventing, materially
delaying, making illegal or otherwise materially interfering with any of the transactions
contemplated by this Agreement.

        (d)     Capitalization. Other than that certain Stockholder Agreement, dated as of
September 12, 2022, between the Purchaser and the Seller and that certain Amended and Restated
Registration Rights Agreement, dated as of November 10, 2022, among the Purchaser, the Seller
and the other parties thereto, there are no stockholder agreements, voting trusts or other agreements
or understandings to which the Seller is a party or by which it is bound relating to the voting or
registration of any shares of capital stock of the Purchaser or any of its Subsidiaries or preemptive
rights with respect thereto.

        (e)       Title to Purchased Securities. The Seller has good, valid and marketable title to the
Purchased Securities, and, subject to receipt of the Sale Order, good, valid and marketable title
will be transferred to the Purchaser free and clear of any charge, lien (statutory or otherwise),
mortgage, lease, hypothecation, encumbrance, pledge, security interest, option, right of use, first
offer or first refusal, voting trusts, proxies, easement, servitude, restrictive covenant, encroachment

                                                   4
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 10 of 81




or similar restriction, other than those imposed by the Securities Act (each, an “Encumbrance”,
and collectively, “Encumbrances”). The Purchased Securities, constitute all of the shares of capital
stock of the Purchaser (or options, warrants or rights to purchase shares of capital stock of the
Purchaser or securities convertible into or exchangeable for shares of capital stock of the
Purchaser) owned by the Seller (other than those certain 1,917,210 shares of common stock of the
Purchaser that the Seller is currently holding in abeyance on behalf of certain warrantholders of
the Seller).

        (f)     Legal Proceedings and Orders. Other than in connection with the Bankruptcy Case,
to the Knowledge of Seller, there is no action, suit, arbitration, proceeding (including any civil,
criminal, administrative, investigative or appellate proceeding or any informal proceeding) or
investigation pending or being heard by or before, or otherwise involving, any Governmental
Authority or any arbitrator or arbitration panel (each a “Proceeding”) and no Person has threatened
in writing to commence any Proceeding, in each case, that would reasonably be expected to have
the effect of preventing, materially delaying, making illegal or otherwise materially interfering
with any of the Transactions contemplated by this Agreement. To the Knowledge of Seller, and
except as described in Section 3(f) of the Seller Disclosure Schedule, there is no governmental
order, writ, injunction, judgment or decree to which the Purchased Securities are subject.

        (g)    SEC Matters. The sale of the Purchased Securities by the Seller is not part of a plan
or scheme to evade the registration requirements of the Securities Act. Neither the Seller nor any
Person (as defined below) acting on behalf of the Seller has offered or sold any of the Purchased
Securities by any form of general solicitation or general advertising.

       (h)     Brokers. Except as set forth in Section 3(h) of the Seller Disclosure Schedule, no
Person is entitled to any brokerage, financial advisory, finder’s or similar fee or commission
payable by the Seller or any of its Affiliates in connection with the Transactions contemplated by
this Agreement.

       (i)     No Reliance. In making its decision to sell the Purchased Securities, the Seller
represents that it has not relied on, and expressly disclaims reliance on, any statements or other
information provided by any Person (including, without limitation, the Purchaser) (other than the
representations and warranties of the Purchaser set forth in Section 4).

        (j)      Disclaimer of Additional Warranties. Except as expressly set forth in this Section
3, neither the Seller nor any of its directors, members, officers, employees or representatives nor
any other Person makes or has made any representation or warranty, express or implied, at law or
in equity, in respect of the Seller, the Purchased Securities or the transactions contemplated by this
Agreement, and the Seller disclaims any other representations or warranties, whether made by the
Seller or any other Person, in each case notwithstanding the delivery or disclosure to the Purchaser
or any other Person of any documentation or other information with respect to the foregoing.

4.     REPRESENTATIONS AND WARRANTIES OF THE PURCHASER

       The Purchaser represents and warrants to the Seller as follows:

       (a)     Organization. The Purchaser is a corporation duly organized, validly existing and
in good standing under the laws of the State of Delaware.

                                                  5
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 11 of 81




        (b)    Authority. The Purchaser has authorized the execution, delivery and performance
of this Agreement and each of the transactions contemplated hereby, and, upon entry and
effectiveness of the Sale Order, no other action will be necessary to authorize such execution,
delivery and performance. Subject to and assuming the entry and effectiveness of the Sale Order,
this Agreement shall constitute a legal, valid and binding obligation of the Purchaser, enforceable
against the Purchaser in accordance with its terms.

       (c)     No Violation; Consents.

                (i)    No Consent of any Governmental Authority having jurisdiction over the
Purchaser is required for the execution, delivery or performance by the Purchaser of its obligations
hereunder, including without limitation the purchase of the Purchased Securities, except for the
entry of the Sale Order by the Bankruptcy Court.

               (ii)    Except to the extent excused by or unenforceable as a result of the filing of
the Bankruptcy Case and except for the entry and effectiveness of the Sale Order, neither the
acquisition of the Purchased Securities nor the performance of the Purchaser’s obligations
hereunder will violate, conflict with, result in a breach of or termination of, extinguish any rights,
or constitute a default (or an event that, with the giving of notice or the lapse of time, or both,
would constitute a default) under (i) the certificate of incorporation, bylaws or other Organizational
Documents of the Purchaser, (ii) any Laws of any Governmental Authority having jurisdiction
over the Purchaser or any of its assets or properties or (iii) the terms of any material agreement to
which the Purchaser is a party or to which any of the Purchaser’s properties is subject, except in
each case as would not reasonably be expected to have the effect of preventing, materially
delaying, making illegal or otherwise materially interfering with any of the transactions
contemplated by this Agreement.

        (d)    Sufficient Funds. The Purchaser has sufficient cash in immediately available funds
to pay the Closing Payment and all of the fees, costs and expenses incurred in connection with the
transactions contemplated hereby by the Purchaser (without giving effect to any unfunded
financing, regardless of whether any such financing is committed).

        (e)     Solvency. Assuming the accuracy of the representations and warranties of Seller
set forth in Section 3 (disregarding any materiality, knowledge or similar qualifications or
exceptions contained therein), immediately after giving effect to the transactions contemplated
hereby (including, without limitation, the Oramed DIP Assumption), the Purchaser shall (i) be able
to pay its debts as they become due; (ii) own property which has a fair saleable value greater than
the amounts required to pay its debts (including a reasonable estimate of the amount of all
contingent liabilities); and (iii) have adequate capital to carry on its business. No transfer of
property is being made and no obligation is being incurred in connection with the transactions
contemplated hereby with the intent to hinder, delay or defraud either present or future creditors
of the Purchaser.

       (f)    Acknowledgement. The Purchaser acknowledges and understands that the
Purchase Price represents a mutually agreed upon price for the Purchased Securities determined
by the Purchaser and the Seller and does not necessarily represent the fair market value of the
Purchased Securities as of the date hereof, as of the Closing or in the future.

                                                  6
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 12 of 81




        (g)    Tax Classification. SCLX Stock Acquisition is a direct, wholly-owned subsidiary
of the Purchaser that, for U.S. federal and applicable state and local income Tax purposes, is treated
as a disregarded entity.

5.     COVENANTS OF THE PARTIES.

       (a)     [Reserved].

       (b)     [Reserved].

        (c)      Further Assurances. At all times from and after the Closing, each of the Parties
shall use its reasonable best efforts to take, or cause to be taken, all actions, and to do, or cause to
be done, all things reasonably necessary, proper or advisable consistent with applicable Laws or
reasonably requested to consummate and make effective in the most expeditious manner
practicable the Transactions contemplated by this Agreement and the other Transaction
Documents.

       (d)   No Encumbrances. At the Effective Time, Seller shall sell and transfer the
Purchased Securities to the Purchaser, free and clear of any Encumbrances or Liabilities.

       (e)     [Reserved].

       (f)     [Reserved].

       (g)     Tax Matters.

                (i)     Cooperation on Tax Matters. The Parties shall use commercially reasonable
efforts to cooperate, as and to the extent reasonably requested by any other party, and at such
requesting party’s expense, in connection with the filing of Tax Returns and any audit, litigation
or other proceeding with respect to Taxes relating to Tax periods (or portions thereof) ending on
or before the Closing Date. Such cooperation shall include the retention and (upon a reasonable
request) the provision of records and information that are reasonably relevant to any filing of Tax
Returns including the transactions contemplated hereby and any such audit, litigation or other
proceeding and making employees available on a mutually convenient basis to provide additional
information and explanation of any material provided hereunder. The Seller agrees (A) to retain
all books and records in its possession with respect to Taxes of the Purchaser and its Subsidiaries
relating to any taxable period beginning before the Closing Date for up to seven (7) years, and (B)
to give the Purchaser reasonable written notice prior to transferring, destroying or discarding any
such books and records and shall allow the Purchaser to take possession of such books and records.
For the avoidance of doubt, the Seller shall not be required to share tax information or books and
records with the Purchaser with respect to the Seller or the Seller’s consolidated, combined, unitary
or affiliated tax group, except to the extent there is an audit, litigation or other proceeding with
respect to the Seller’s Income Taxes with respect to a taxable period for which the Purchaser was
a member of the Seller’s consolidated, combined, unitary or affiliated tax group and the Purchaser
is reasonably expected to have liability for all or a portion of any resulting Tax liability.

               (ii)    The Parties agree, upon reasonable request and at such requesting party’s
expense, to use their commercially reasonable efforts to obtain any certificate or other document

                                                   7
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 13 of 81




from any governmental authority or any other Person as may be necessary to mitigate, reduce or
eliminate any Tax that could be imposed with respect to the transactions contemplated hereby.

               (iii) Transfer Taxes. All transfer, documentary, sales, use, stamp, registration
and other such Taxes, and all conveyance fees, recording charges and other fees and charges
(including any penalties and interest) incurred in connection with consummation of the
transactions contemplated by this Agreement and actually due and owing shall be borne and paid
by the Purchaser when due, and Purchaser will file all necessary Tax Returns and other
documentation with respect to all such Taxes, fees and charges, and, if required by applicable law,
each Party will, and will cause its Affiliates to, join in the execution of any such Tax Returns and
other documentation.

                (iv)   Tax Election. The Purchaser agrees not to file any entity classification
election pursuant to Treasury Regulations Section 301.7701-3 to classify SCLX Stock Acquisition
as a corporation for U.S. federal income tax purposes which election shall be effective on or before
the day after the Closing Date.

       (h)     Submission for Bankruptcy Court Approval.

                (i)     The Seller has given notice under the Bankruptcy Code of the request for
the relief in the Sale Order to all Persons entitled to such notice, including all Persons that have
asserted Encumbrances in the Purchased Securities, and shall give such additional notice as the
Bankruptcy Court shall direct or as the Purchaser may reasonably request, and provide appropriate
opportunity for hearing, to all parties entitled thereto, of all motions, orders, hearings, or other
proceedings in the Bankruptcy Court relating to this Agreement or the transactions contemplated
hereby. The Seller shall be responsible for making all appropriate filings relating thereto with the
Bankruptcy Court, which filings shall be submitted, to the extent practicable, to the Purchaser prior
to their filing with the Bankruptcy Court for the Purchaser’s prior review and comments (which
comments the Seller shall consider in good faith).

                 (ii)    The Parties shall consult with one another regarding pleadings which any
of them intends to file with the Bankruptcy Court in connection with, or which might reasonably
affect, the Sale Order. The Seller shall promptly provide the Purchaser and its counsel with copies
of all notices, filings and orders of the Bankruptcy Court that the Seller has in its possession (or
receives) pertaining to the Sale Order or any other order related to any of the transactions
contemplated by this Agreement, but only to the extent such papers are not publicly available on
the Bankruptcy Court’s docket or otherwise made available to the Purchaser and its counsel.

               (iii) The Parties shall comply in all material respects with all of their obligations
under the Sale Order.

                (iv)   If the Bid Procedures Order, the Sale Order or any other orders of the
Bankruptcy Court relating to this Agreement or the transactions contemplated hereby shall be
appealed by any Person (or if any petition for certiorari or motion for reconsideration, amendment,
clarification, modification, vacation, stay, rehearing or reargument shall be filed with respect to
the Bid Procedures Order, the Sale Order or other such order), subject to rights otherwise arising
from this Agreement, the Parties shall use their commercially reasonable efforts to prosecute such


                                                 8
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 14 of 81




appeal, petition or motion and obtain an expedited resolution of any such appeal, petition or
motion.

       (i)     [Reserved].

       (j)     [Reserved].

        (k)      Receipt of Property Relating to Purchased Securities. If, following the Closing, the
Seller (or its respective Affiliates or Representatives) shall receive any money, check, note, draft,
instrument, payment or other property as proceeds of the Purchased Securities or any part thereof,
and to the extent arising from any fact, event or circumstance after the Closing, each such Person
shall receive all such items in trust for, and as the sole and exclusive property of, Purchaser and,
upon receipt thereof, shall notify Purchaser in writing of such receipt and shall remit the same (or
cause the same to be remitted) to Purchaser in the manner reasonably specified by Purchaser.

        (l)      Post-Closing Operation of the Seller; Name Changes. After the Closing Date, none
of the Seller and any of its Affiliates shall use the name or mark “Scilex” or any derivatives thereof
for commercial purposes. After the Closing, the Seller and its Affiliates shall promptly file with
the applicable Governmental Authorities all documents reasonably necessary to delete from their
names the words “Scilex” or any derivatives thereof and shall do or cause to be done all other acts,
including the payment of any fees required in connection therewith, to cause such documents to
become effective as promptly as reasonably practicable. For clarity, nothing in this Section 5(l)
shall restrict the Seller or any of its Affiliates from using or referencing the name or mark “Scilex”
or any derivatives thereof (i) in a non-trademark manner to describe or provide information
regarding the history of the Purchased Securities, or (ii) as required by applicable Law, including
in any filing with the SEC, documents filed with the Bankruptcy Court or financial statements.

       (m)     Transition Services.

                (i)    Subject to the terms and conditions of this Section 5(m), the Seller will, for
a period of up to 120 days following the Closing, provide to the Purchaser a continuation of those
services that the Seller has provided to the Purchaser at any time since December 1, 2022 (the
“Transition Services”), on the same terms and conditions (including cost) as previously provided
between the Seller and the Purchaser; provided however, that:

                 (1)     the Seller shall have the right to make such changes to the Transition
Services as are necessary in order to comply with applicable Laws or Permits to which the Seller
or its Affiliates is a party or subject;

                (2)    the Seller shall not be responsible for any act or omission of a third party
provider and the Purchaser’s sole and exclusive remedy in respect of such acts or omissions shall
be the Seller’s use of commercially reasonable efforts to cause such third party to perform or re-
perform the Transition Services and/or to seek available remedies under the applicable Contract
with such third party provider;

               (3)    nothing contained in this Section 5(m) shall require the Seller to provide
any services that would constitute the provision of any legal or tax advice or regulated activity, or


                                                  9
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 15 of 81




that would create deficiencies in the Seller’s controls over financial information or adversely affect
the maintenance of the Seller’s financial books and records; and

               (4)     in no event shall the Seller be obligated to hire replacements for employees
providing Transition Services that resign, retire or are terminated; provided, however, that in such
case, the Seller will use commercially reasonable efforts to provide the applicable Transition
Services.

                (ii)     The aggregate liability of Seller in connection with the performance of the
Transition Services shall not exceed the total fees actually paid or payable by the Purchaser to
Seller in respect of the Transition Services. Notwithstanding anything else in this Agreement to
the contrary, and solely with respect to the Transition Services, Seller shall not be liable for any
special, indirect, punitive or consequential damages which substantially arise out of, relate to or
are a consequence of the performance of the Transition Services, except in the event of the Seller’s
gross negligence, willful misconduct or fraud. Seller acknowledges and agrees that irreparable
damage would occur in the event that any of the provisions of this Section 5(m) were not performed
by them in accordance with the terms hereof or were otherwise breached and that the Purchaser
shall be entitled to an injunction or injunctions to prevent breaches of the provisions of this Section
5(l) and to enforce specifically the provisions of this Section 5(m) (without any requirement to
post any bond or other security in connection with seeking such relief), in addition to any other
remedy at law or equity, and Seller further agrees not to raise any objections to the availability of
the equitable remedy of specific performance to prevent or restrain breaches of this Section 5(m)
by the Seller, and to specifically enforce the terms and provisions of this Section 5(m).

               (iii) The Purchaser may terminate all or any portion of the Transition Services
before the expiration of such 120-day period, by delivering written notice of such termination to
the Seller.

                (iv)    Nothing in this Section 5(m) shall grant or transfer any rights, title or
interests in any Intellectual Property invented or created before, on or after the Closing by or on
behalf of the Seller or its Affiliates or otherwise controlled by or licensed to the Seller or its
Affiliates.

               (v)    The Purchaser shall pay any applicable costs invoiced to the Purchaser by
the Seller within 30 days after receipt thereof by wire transfer of immediately available funds to
an account designated by the Seller in writing.

        (n)     Acknowledgement. Each of the Parties acknowledges and represents that: (i)
sufficient consideration has been given by each Party to the other Parties as it relates hereto and
the covenants, obligations and agreements hereunder were taken into account in determining the
amount of such consideration; (ii) each of the Parties has consulted with independent legal counsel
regarding its rights and obligations under this Section 5; (iii) each of the Parties fully understands
the terms and conditions contained herein; (iv) the restrictions and agreements in this Section 5
are reasonable in all respects and, as applicable, necessary for the protection of the Business and
that, without such protection, the customer and client relationships and competitive advantage
relating to the Business would be materially adversely affected; and (v) the agreements in this
Section 5 are an essential inducement to each Party to enter into this Agreement and they are in

                                                  10
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 16 of 81




addition to, rather than in lieu of, any similar or related covenants to which either Party is party or
by which it is bound.

6.     [RESERVED].

7.     [RESERVED].

8.     NO RECOURSE.

        This Agreement may only be enforced against, and any claim or cause of action pursuant
to the terms of this Agreement (including any representation or warranty made in, in connection
with, or as an inducement to this Agreement) may only be brought against, the entities that are
expressly named as Parties hereto and then only with respect to the specific obligations set forth
herein with respect to such Party. Except to the extent a named Party to this Agreement (and then
only to the extent of the specific obligations undertaken by such named Party in this Agreement
and not otherwise), no past, present or future manager, director, officer, employee, incorporator,
member, partner, equityholder, Affiliate, agent, attorney, advisor or representative or Affiliate of
any named Party to this Agreement shall have any liability (whether in contract, tort, equity or
otherwise) for any one or more of the representations, warranties, covenants, agreements or other
obligations or liabilities of any one or more of the named Parties to this Agreement.

9.     SURVIVAL OF REPRESENTATIONS AND WARRANTIES.

        (a)    None of the representations and warranties of the Parties in this Agreement shall
survive the Closing, and no Party hereto shall, or shall be entitled to, make any claim or initiate
any action against any other Party with respect to any such representation or warranty from or after
the Closing.

        (b)     None of the covenants or agreements of the Parties in this Agreement shall survive
the Closing, and no Party hereto shall, or shall be entitled to, make any claim or initiate any action
against any other Party with respect to any such covenant or agreement from or after the Closing,
other than (i) the covenants and agreements of the Parties contained in this Section 9 and in
Sections 1, 2 and 10, and (ii) those other covenants and agreements contained herein that by their
terms apply, or that are to be performed in whole or in part, after the Closing, which shall survive
the consummation of the transaction contemplated by this Agreement until fully performed.

10.    DEFINITIONS; MISCELLANEOUS.

      (a)     Terms Defined. As used in this Agreement, the following terms have the respective
meanings set forth below:

                “Affiliate” means any Person that directly or indirectly controls, is controlled by,
or is under control with, such Person. The term “control” (including the terms “controlled by” and
“under common control with”) means the possession, directly or indirectly, of the power to direct
or cause the direction of the management and policies of a Person, whether through the ownership
of voting securities, by contract or otherwise.



                                                  11
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 17 of 81




               “Bankruptcy Case” means the Seller’s and Scintilla’s voluntary proceedings under
Chapter 11 of the Bankruptcy Code in the Bankruptcy Court, which are being jointly administered
under the caption In re Sorrento Therapeutics, Inc., et al, Case No. 23-90085 (Bankr. S.D. Tex.).

               “Bankruptcy Court” means the United States Bankruptcy Court for the Southern
District of Texas or such other court having competent jurisdiction over the Bankruptcy Case.

               “Benefit Plan” means each “employee benefit plan” (as defined in Section 3(3) of
ERISA or any similar plan subject to Laws of a jurisdiction outside of the United States, whether
or not subject to ERISA), and any other plan, policy, program or agreement providing
compensation or other benefits to any current or former director, officer, employee or other
individual service provider of the Purchaser or any of its Subsidiaries (whether qualified or
nonqualified or funded or unfunded or written or unwritten), in each case, (i) which is maintained,
sponsored by, contributed to or required to be contributed to by the Purchaser or any of its
Subsidiaries, or (ii) under which the Purchaser or any of its Subsidiaries has or would reasonably
be expected to have any obligation or Liability.

              “Bid Procedures Order” means the Order (I) Approving Bid Procedures, (II)
Approving Assumption and Assignment Procedures, and (III) Granting Related Relief [ECF No.
447] entered by the Bankruptcy Court on April 14, 2023.

              “Business” means the business and operations of the Purchaser and its Subsidiaries,
taken as a whole.

              “Business Day” shall mean any day that is not a Saturday, Sunday or other day on
which banks are permitted or required to be closed in New York City.

               “Code” means the Internal Revenue Code of 1986, as amended.

               “Common Stock” means the shares of Common Stock of the Company set forth on
Schedule I.

                “Contract” means any contract, sub-contract, agreement, lease or sub-lease, license
or sub-license, occupancy agreement, purchase order, supply agreement, commitment, note, bond,
franchise, guarantee, indemnity, indenture, instrument, lease, license or other legally binding
arrangement, understanding, or obligation, whether written or oral (including all amendments, side
letters, supplements and modifications of any of the foregoing and all rights and interests arising
thereunder or in connection therewith, but excluding any Benefit Plan).

             “ERISA” means the Employee Retirement Income Security Act of 1974, as
amended, and all Laws issued thereunder.

               “Exchange Act” means the Exchange Act of 1934, as amended, and the rules and
regulations promulgated thereunder.

              “Income Tax” means any federal, state, local, or non-U.S. income tax measured by
or imposed on net income, including any interest, penalty, or addition thereto.


                                                12
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 18 of 81




                “Intellectual Property” shall mean all rights, title and interest (whether statutory,
common law or otherwise) in or relating to any intellectual property, including all: (i) patents and
patent applications, and all related national or international counterparts thereto, including any
divisionals, continuations, continuations-in-part, reissues, reexaminations, substitutions
provisionals, renewals, extensions, patents of addition, supplementary protection certificates,
utility models, inventors’ certificates, or the like, and any foreign equivalents of any of the
foregoing (including certificates of invention and any applications therefor) and all rights to claim
priority from any of the foregoing; (ii) trademarks, trade dress, service marks, certification marks,
logos, slogans, design rights, names, corporate names, trade names, brand names and other similar
designations of source or origin, together with the goodwill symbolized by any of the foregoing,
and all applications, registrations, renewals and extensions of any of the foregoing; (iii) copyrights
and copyrightable subject matter, whether or not registered or published, and all applications,
registrations, reversions, extensions and renewals of any of the foregoing, and all moral rights,
however denominated; (iv) trade secrets, and all other confidential or proprietary information,
ideas, technology, software, compositions, discoveries, improvements, know-how, inventions,
designs, processes, techniques, formulae, models, and methodologies, in each case, whether or not
patentable or copyrightable; (v) Internet domain names and social media accounts and addresses,
and all registrations for any of the foregoing; and (vi) rights and remedies with respect to any past,
present, or future infringement, misappropriation, or other violation of any of the foregoing in
clauses (i) through (v), in each case (i) through (vi), anywhere in the world.

                “Knowledge” means, as to a particular matter, the actual knowledge of (i) with
respect to Purchaser, its chief executive officer or its chief financial officer, and (ii) with respect
to the Seller, Mohsin Meghji.

                “Liability” means any liability (including any unknown, undisclosed, unmatured,
unaccrued, unasserted, contingent, direct, indirect, conditional, implied, vicarious, derivative,
joint, several or secondary liability), debt, obligation, deficiency, interest, tax, penalty, fine,
penalty, claim, demand, judgment, cause of action or other loss (including loss of benefit or relief),
cost or expense of any kind or nature whatsoever, whether asserted or unasserted, absolute or
contingent, accrued or unaccrued, liquidated or unliquidated, and whether due or to become due
and regardless of when asserted.

                “Material Contract” means any contract to which the Seller is a party that was filed
by the Seller pursuant to Exhibit 10, as specified in Regulation S-K Item 601(b)(10), with its annual
report on Form 10-K for the fiscal year ended December 31, 2022, or any subsequent current report
on Form 8-K or any quarterly report on Form 10-Q.

                 “Oramed DIP Assumption” means the assignment to Purchaser by Sorrento and
Scintilla of their respective rights and obligations under that certain Senior Secured, Super-Priority
Debtor-in-Possession Loan and Security Agreement, by and among Oramed Pharmaceuticals, Inc.,
a Delaware corporation (“Oramed”), on the one hand, and Sorrento and Scintilla, on the other,
dated as of August 8, 2023 (the “Senior DIP”), the assumption by the Purchaser of such rights,
title and interests, duties, liabilities and obligations and the irrevocable and unconditional release
by the Purchaser and Oramed of Sorrento and Scintilla from any and all claims, liabilities and
obligations under the Senior DIP, in each case, pursuant to documentation entered into between
Oramed, Sorrento and the Purchaser on the date hereof.

                                                  13
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 19 of 81




               “Organizational Documents” means the articles of incorporation, certificate of
incorporation, charter, by-laws, articles of formation, articles of organization, certificate of
formation, regulations, operating agreement, certificate of limited partnership, limited liability
company agreement or partnership agreement, stockholders agreement and all other similar
documents, instruments or certificates executed, adopted or filed in connection with the creation,
formation, organization or governance of a Person, including any amendments thereof and any
supplements thereto.

              “Permit” shall mean franchises, grants, authorizations, registrations, licenses,
permits, easements, variances, exceptions, certificates, and approvals of any Governmental
Authority.

                “Person” means an individual, partnership, joint-stock company, corporation,
limited liability company, trust or unincorporated organization, and a government or agency or
political subdivision thereof.

              “Preferred Stock” means the shares of Series A Preferred Stock of the Company set
forth on Schedule I.

               “Representative” of any Person shall mean such Person’s directors, managers,
officers, employees, agents, attorneys, consultants, advisors or other representatives.

              “Sale Order” means the Order (I) Approving Sale of Scilex Stock to Scilex Holding
Company Free and Clear of All Liens, Claims, Interests, and Encumbrances, (II) Conditionally
Vacating the Oramed Sale Order, and (III) Granting Related Relief [ECF No. 1316].

                 “SCLX Stock Acquisition” means SCLX Stock Acquisition JV LLC, a Texas
limited liability company that is a wholly-owned subsidiary of the Purchaser.

               “Securities Act” means the Securities Act of 1933, as amended.

                “Subsidiary” of any Person means any other Person, of which such first Person
(either alone or with any other Subsidiary) owns or controls, directly or indirectly, stock, other
securities or other equity interests (i) having the ordinary voting power to elect a majority of the
board of directors or other governing body of such Person, or (ii) representing at least fifty percent
(50%) of the outstanding stock, other securities or other equity interests of such Person.

                “Tax” means any U.S. federal, state, local or non-U.S. tax (including any income
tax, franchise tax, service tax, capital gains tax, gross receipts tax, value-added tax, surtax, excise
tax, ad valorem tax, transfer tax, stamp tax, sales tax, use tax, property tax, business tax,
withholding tax or payroll tax), levy, assessment, tariff, duty (including any customs duty),
deficiency or fee (including any fine, addition, penalty or interest), imposed by any Governmental
Authority (to the extent the foregoing are taxes or in the nature of a tax).

                “Tax Return” means any return, declaration, report, claim for refund, or information
return or statement relating to Taxes, including any schedule or attachment thereto, and including
any amendment thereof, required to be filed by the Purchaser or any of its Subsidiaries to a tax
authority.

                                                  14
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 20 of 81




                “Transaction Documents” means collectively, this Agreement, the schedules and
exhibits attached hereto (including the Seller Disclosure Schedule), and any and all agreements,
certificates, instruments and other documents of the Parties required thereby or executed in
connection therewith.

               “Warrants” means the Warrants of the Company set forth on Schedule I.

       (b)     Public Announcements; Reporting Obligations.

                (i)     Each of the Parties may make any filings or public announcement it
reasonably deems necessary in order to comply with the requirements of any applicable Law,
including without limitation the filing by the Parties of any Form 8-K, Schedule 13G or Schedule
13G/A, Schedule 13D or Schedule 13D/A, Form 3, Form 4 or other appropriate filings with the
SEC. Except as a Party reasonably deems necessary in order to comply with the requirements of
any applicable Law, no Party may issue any press release or make any other public announcement
relating to the subject matter of this Agreement or the Transactions contemplated hereby without
the prior written consent of the other Party, which shall not be unreasonably withheld, conditioned
or delayed.

                 (ii)    The Purchaser acknowledges and agrees that it shall be solely responsible
for the filing, as and if applicable, of (1) any Forms 3, 4 and 5 in accordance with Section 16(a) of
the Exchange Act and the rules promulgated thereunder, and (2) any Schedule 13D or 13G, as
applicable, under the Exchange Act and the rules promulgated thereunder, in each case, in respect
of its ownership of a registered class of securities of the Purchaser.

        (c)     Governing Law. This Agreement shall be governed by and construed in accordance
with the laws of the State of New York applicable to contracts made and to be performed entirely
within such State. All actions and proceedings arising out of or relating to this Agreement and the
transactions contemplated hereby shall be heard and determined exclusively in the United States
Bankruptcy Court for the Southern District of Texas, and the Parties hereby irrevocably submit to
the exclusive jurisdiction of such court in any such action or proceeding and irrevocably waive the
defense of an inconvenient forum to the maintenance of any such action or proceeding; provided,
however, that, if the Bankruptcy Case is closed, any action, claim, suit or proceeding arising out
of, based upon, or relating to this Agreement or the transactions contemplated herby shall be heard
and determined exclusively in any state or federal court located in New York County, New York.
Each Party agrees that a final, non-appealable judgment in any such action or proceeding shall be
conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other
manner provided by law. EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
CONTROVERSY THAT MAY ARISE UNDER THIS AGREEMENT IS LIKELY TO
INVOLVE COMPLICATED AND DIFFICULT ISSUES, AND THEREFORE IT HEREBY
IRREVOCABLY AND UNCONDITIONALLY WAIVES ANY RIGHT IT MAY HAVE TO
A TRIAL BY JURY IN RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY
ARISING OUT OF OR RELATING TO THIS AGREEMENT OR THE TRANSACTIONS
CONTEMPLATED HEREBY.

        (d)     Section Headings. The headings of the sections and subsections of this Agreement
are inserted for convenience only and shall not be deemed to constitute a part thereof.

                                                 15
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 21 of 81




       (e)     Notices.

               (i)   All communications under this Agreement shall be in writing and shall be
delivered by hand, mailed by overnight courier or by registered or certified mail, postage prepaid
or by e-mail:

              (1)     if to the Purchaser, at Scilex Holding Company, Attention: Stephen Ma and
Henry Ji (e-mail: SMa@scilexholding.com; HJi@sorrentotherapeutics.com), or at such other
address or e-mail address as the Purchaser may have furnished the Seller in writing, with a copy
(which shall not constitute notice) to: Paul Hastings LLP, 600 Travis Street, Fifty-Eighth Floor,
Houston, TX 77002, Attention: Luis F. Gomar, James Grogan, Justin Rawlins (e-mail:
luisgomar@paulhastings.com;                                     jamesgrogan@paulhastings.com;
justinrawlins@paulhastings.com).

               (2)    if to the Seller, to 4955 Directors Place, San Diego, California 92121,
Attention: Mohsin Y. Meghji, Chief Restructuring Officer (e-mail: mmeghji@m3-partners.com),
or at such other address or e-mail address as it may have furnished in writing to the Purchaser,
with a copy (which shall not constitute notice) to: Latham & Watkins LLP, 10250 Constellation
Blvd. Suite 1100, Los Angeles, CA 90067, Attention: Andrew Clark; Caroline Reckler; Steven
Feldman (e-mail: andrew.clark@lw.com; caroline.reckler@lw.com; steve.feldman@lw.com).

                (ii)   Any notice so addressed shall be deemed to be given: if delivered by hand,
on the date of such delivery; if mailed by courier, on the first Business Day following the date of
such mailing; if mailed by registered or certified mail, on the third Business Day after the date of
such mailing; and if delivered by e-mail (with no error message received), on the date of such
delivery.

        (f)   Expenses and Taxes. Each Party shall bear its own expenses incurred in connection
with this Agreement and the consummation of the transactions contemplated hereby; provided,
that the Purchaser shall bear any transfer taxes payable in connection with the transfer of the
Purchased Securities to the Purchaser.

        (g)     Successors and Assigns. Neither this Agreement nor any of the rights, interests or
obligations hereunder may be assigned or delegated by the Purchaser or the Seller. This
Agreement shall inure to the benefit of and be binding upon the successors and permitted assigns
of each of the parties, including the trustee in the Bankruptcy Case. Notwithstanding the foregoing
or anything in this Agreement to the contrary, the Purchaser may assign this Agreement and/or
any of its rights, interests, or obligations hereunder (in whole or in part) to an Affiliate of the
Purchaser; provided, however, that such assignment shall not relieve the Purchaser of its
obligations hereunder. Purchaser may, without the consent of Seller, designate, effective as of the
Closing, one or more Persons to acquire all, or any portion of, the Purchased Securities or pay all
or any portion of the Purchase Price; provided, however, that such designation shall not relieve the
Purchaser of its obligations hereunder. The above designation may be made by Purchaser by
written notice to Seller at least three (3) Business Days prior to the Closing Date. The Parties
agree to modify any Closing deliverables in accordance with the foregoing designation.




                                                16
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 22 of 81




        (h)     Remedies. The Parties agree that irreparable damage would occur if any provision
of this Agreement were not performed in accordance with its specific terms or was otherwise
breached and that monetary damages may not be an adequate remedy for any breach or threatened
breach of any of the provisions of this Agreement. It is accordingly agreed that the Parties shall
be entitled to an injunction or injunctions to prevent breaches of this Agreement and to enforce
specifically the terms and provisions of this Agreement, and any such injunction shall be in
addition to any other remedy to which any Party is entitled, at law or in equity.

        (i)   Entire Agreement; Amendment and Waiver. This Agreement constitutes the entire
understanding of the Parties and supersedes all prior understandings among such Parties, including
the non-binding term sheet, dated September 11, 2023, among the Parties and Oramed. This
Agreement may be amended with (and only with) the written consent of the Seller and the
Purchaser, and the observance of any term of this Agreement may be waived in a writing signed
by the party making such waiver.

        (j)     Counterparts. This Agreement may be executed with counterpart signature pages
or in one or more counterparts, each of which shall be deemed an original, but all of which together
shall constitute one and the same instrument. Counterpart signature pages or counterparts of this
Agreement may be executed and delivered by electronic means (including in .pdf format sent by
electronic mail) and other electronic signatures, and the receiving party may rely on the receipt of
such document so executed and delivered by electronic means as if the original had been received.

         (k)   Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of Law or public policy, all other terms, conditions and
provisions of this Agreement shall nevertheless remain in full force and effect so long as the
economic or legal substance of the transactions contemplated hereby is not affected in any manner
materially adverse to any Party. Upon a determination that any term or other provision of this
Agreement is invalid, illegal or incapable of being enforced, the Parties shall negotiate in good
faith to modify this Agreement so as to effect the original intent of the Parties as closely as possible
in a mutually acceptable manner in order that the transactions contemplated hereby be
consummated as originally contemplated to the fullest extent possible.

         (l)    Mutual Drafting. The Parties participated jointly in the negotiation and drafting of
this Agreement and the language used in this Agreement shall be deemed to be the language chosen
by the Parties to express their mutual intent. If an ambiguity or question of intent or interpretation
arises, then this Agreement will accordingly be construed as drafted jointly by the Parties, and no
presumption or burden of proof will arise favoring or disfavoring any Party by virtue of the
authorship of any of the provisions of this Agreement.

        (m)    Rules of Construction. The words “hereby,” “herein,” “hereof,” “hereunder” and
words of similar import refer to this Agreement as a whole (including any Exhibits and Schedules
hereto) and not merely to the specific section, paragraph or clause in which such word appears. All
references herein to Articles, Sections, Exhibits and Schedules shall be deemed references to
Articles and Sections of, and Exhibits and Schedules to, this Agreement unless the context shall
otherwise require. The words “include,” “includes” and “including” shall be deemed to be
followed by the phrase “without limitation.” When calculating periods of time under this
Agreement, reference to a “day” or “days” shall refer to a calendar day unless otherwise expressly

                                                  17
     Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 23 of 81




provided herein. The definitions given for terms in this Agreement shall apply equally to both the
singular and plural forms of the terms defined. Whenever the context may require, any pronoun
shall include the corresponding masculine, feminine and neuter forms. Except as otherwise
expressly provided herein, all references to “dollars” or “$” shall be deemed references to the
lawful money of the United States of America. The use of “or” is not intended to be exclusive
unless expressly indicated otherwise.



                                    [Signature Pages Follow]




                                               18
     Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 24 of 81




       IN WITNESS WHEREOF, the parties hereto have caused this Agreement to be duly
executed and delivered as of the date first above written.

                                      SELLER:

                                      SORRENTO THERAPEUTICS, INC.


                                      By:______________________________
                                         Name: Mohsin Y. Meghji
                                         Title: Chief Restructuring Officer




                     [                                       ]
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                   Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 25 of 81



                                                             PURCHASER:

                                                              SCILEX HOLDING COMPANY, a Delaware
                                                              corporation


                                                              By:_____________________________
                                                              Name: Jaisim Shah
                                                              Title: Chief Executive Officer and President




                                        [Signature Page to Stock Purchase Agreement]
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 26 of 81




                                   Schedule I

                             Purchased Securities

     Class or Type of Securities         Number of Securities

     Common Stock                        60,068,585


     Series A Preferred Stock            29,057,097


     Warrants                            Warrants exercisable for
                                         1,386,617 shares of common
                                         stock of the Purchaser in respect
                                         of Public Warrants, and warrants
                                         exercisable for 3,104,000 shares
                                         of common stock of the Purchaser
                                         in respect of Private Placement
                                         Warrants (each as defined in the
                                         latest publicly filed Annual
                                         Report on Form 10-K of the
                                         Purchaser)




                                   Schedule I
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 27 of 81

                                                              Final Form



                SELLER DISCLOSURE LETTER
                                 TO
               STOCK PURCHASE AGREEMENT
                              between
                   SCILEX HOLDING COMPANY

                                 and
                 SORRENTO THERAPEUTICS, INC.

                    Dated as of September 21, 2023




                                  i
        Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 28 of 81




                                                       Table of Contents


Section 3(a) Organization ..........................................................................................................3
Section 3(b) Authority ...............................................................................................................4
Section 3(c) No Violation; Consents ..........................................................................................5
Section 3(d) Capitalization ........................................................................................................7
Section 3(e) Title to Purchased Securities .................................................................................8
Section 3(f) Legal Proceedings and Orders ................................................................................9
Section 3(g) SEC Matters ........................................................................................................10
Section 3(h) Brokers ...............................................................................................................11




                                                                  i
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 29 of 81




                                  SELLER DISCLOSURE LETTER
         Reference is made to that certain Stock Purchase Agreement (the “Agreement”) entered into as of
the date hereof, by and between Scilex Holding Company, a Delaware corporation (the “Purchaser”) and
Sorrento Therapeutics, Inc., a Delaware corporation (the “Seller”). Capitalized terms used but not defined
in this Disclosure Schedule shall have the meanings ascribed to them in the Agreement.
        This Disclosure Schedule is qualified in its entirety by reference to specific provisions of the
Agreement, and is not intended to constitute, and shall not be construed as constituting representations or
warranties of the Seller, except to the extent expressly provided in the Agreement.
        Any information disclosed in any section of this Disclosure Schedule, representation or warranty
in a manner that makes its relevance to one or more other sections of the Disclosure Schedule,
representations or warranties reasonably apparent will be deemed to have been appropriately included in
each such other section of the Disclosure Schedule, representation or warranty (notwithstanding the
presence or absence of any reference in or to any section of the Disclosure Schedule, representation or
warranty).
        Inclusion of information in this Disclosure Schedule shall not be construed as an admission that
such information is material to the business, assets, liabilities, financial position, operations or results of
operations of the Seller, as applicable.
        The Seller assumes no responsibility to any Person that is not a party to the Agreement for the
accuracy of any information herein. The information was not prepared or disclosed with a view to its
potential disclosure to others.
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 30 of 81




                                          SECTION 3(A)
                                         ORGANIZATION

(a) Organization. The Seller is a corporation duly organized, validly existing and in good standing
under the laws of the State of Delaware.
None.




                                                3
     Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 31 of 81




                                         SECTION 3(B)
                                         AUTHORITY

(b) Authority. The Seller has authorized the execution, delivery and performance of this Agreement
and each of the transactions contemplated hereby, and, upon entry and effectiveness of the Sale
Order (as defined below), no other action will be necessary to authorize such execution, delivery
and performance. Subject to and assuming the entry and effectiveness of the Sale Order, this
Agreement constitutes a legal, valid and binding obligation of the Seller, enforceable against the
Seller in accordance with its terms.
None.




                                                4
       Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 32 of 81




                                                SECTION 3(C)
                                           NO VIOLATION; CONSENTS

(c) No Violations; Consents.

    (i) No consent, approval, authorization or order (each a “Consent”) of any federal,
        municipal, state, local or foreign governmental, administrative, taxing or regulatory
        authority, department, agency, commission or body (including any court, arbitrator, or
        similar tribunal) (each a “Governmental Authority”) having jurisdiction over the Seller is
        required for the execution, delivery or performance by the Seller of its obligations
        hereunder, including without limitation the sale of the Purchased Securities 1, except for
        (A) the entry of the Sale Order by the Bankruptcy Court (as defined below) and (B) such
        consents, approvals, authorizations or orders as have already been obtained or granted.

         None.

    (ii) Except to the extent excused by or unenforceable as a result of the Bankruptcy Case (as
         defined below) and except for the entry and effectiveness of the Sale Order, neither the sale
         of the Purchased Securities nor the performance of the Seller’s obligations hereunder will
         violate, conflict with, result in a breach or termination of, extinguish any material rights,
         or constitute a default (or an event that, with the giving of notice or the lapse of time, or
         both, would constitute a default) under (i) the certificate of incorporation, bylaws or other
         Organizational Documents of the Seller (ii) any decree, judgment, order, law, treaty, rule,
         regulation or determination of any Governmental Authority (“Laws”) having jurisdiction
         over the Seller or any of its respective assets or properties, or (iii) the terms of any Material
         Contract, except in each case as would not reasonably be expected to have the effect of
         preventing, materially delaying, making illegal or otherwise materially interfering with
         any of the transactions contemplated by this Agreement.

         (A)

         Restated Certificate of the Purchaser, filed with the Secretary of State of the State of
         Delaware on November 10, 2022.

         Bylaws of the Purchaser.

         Stockholder Agreement, dated as of September 12, 2022 (the “Stockholder Agreement”),
         between Vickers Vantage Corp. I and Seller.

         Certificate of Designations of Scilex Holding Company, dated as of November 10, 2022.

         (C)




1
  Seller desires to sell, convey, transfer, assign and deliver to Purchaser, and Purchaser desires to purchase and acquire
from the Seller, those securities of the Purchaser, listed on Schedule I attached hereto (the “Purchased Securities”).
                                                            5
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 33 of 81




 Convertible Debenture (Debenture Number SCLX-1), dated as of March 21, 2023
 (“Debenture 1”), issued by the Purchaser to YA II PN, Ltd.

 Convertible Debenture (Debenture Number SCLX-2), dated as of April 11, 2023
 (“Debenture 2”), issued by the Purchaser to YA II PN, Ltd.

 Convertible Debenture (Debenture Number SCLX-3), dated as of April 20, 2023
 (“Debenture 3” and together with Debenture 1 and Debenture 2, the “Debentures”), issued
 by the Purchaser to YA II PN, Ltd.

 Office Lease, dated as of August 8, 2019, between Scilex Pharmaceuticals, Inc. and 960
 San Antonio LLC.

 First Amendment to Office Lease, dated as of September 15, 2019, between Scilex
 Pharmaceuticals, Inc. and 960 San Antonio LLC.

 Amended and Restated Industrial Lease, dated April 12, 2023, between Scilex
 Pharmaceuticals, Inc. and 960 San Antonio LLC.




                                        6
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 34 of 81




                                           SECTION 3(D)
                                         CAPITALIZATION

(d) Capitalization. Other than that certain Stockholder Agreement, dated as of September 12,
2022, between the Purchaser and the Seller and that certain Amended and Restated Registration
Rights Agreement, dated as of November 10, 2022, among the Purchaser, the Seller and the other
parties thereto, there are no stockholder agreements, voting trusts or other agreements or
understandings to which the Seller is a party or by which it is bound relating to the voting or
registration of any shares of capital stock of the Purchaser or any of its Subsidiaries or preemptive
rights with respect thereto.


       (A)
       Agreement to which the Purchaser is a party in connection with voting or registration of
any shares of capital stock of the Purchaser:
       The Stockholder Agreement.
       YA II PN, LTD. has registration rights in respect of the YA ELOC (as set forth in the
       Standby Equity Purchase Agreement, dated as of November 17, 2022, between the
       Purchaser and YA II PN, LTD., as amended by the Amended and Restated Standby Equity
       Purchase Agreement dated as of February 8, 2023).
       B. Riley Principal Capital II, LLC has registration rights in respect of that certain B. Riley
       Equity Line of Credit (as set forth in the Standby Equity Purchase Agreement, dated as of
       January 8, 2023, between the Purchaser and B. Riley Principal Capital II, LLC).
       Registration Rights Agreement, dated as of March 21, 2023, by and between the Purchaser
       and YA II PN, Ltd.
       Amended and Restated Registration Rights Agreement, dated as of November 10, 2022,
       by and among the Purchaser, Vickers Venture Fund VI Pte Ltd, Vickers Venture Fund VI
       (Plan) Pte Ltd, Seller and certain security holders set forth on the signature pages thereto.




                                                 7
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 35 of 81




                                         SECTION 3(E)
                                TITLE TO PURCHASED SECURITIES

(e) Title to Purchased Securities. The Seller has good, valid and marketable title to the Purchased
Securities, and, subject to receipt of the Sale Order, good, valid and marketable title will be
transferred to the Purchaser free and clear of any charge, lien (statutory or otherwise), mortgage,
lease, hypothecation, encumbrance, pledge, security interest, option, right of use, first offer or first
refusal, voting trusts, proxies, easement, servitude, restrictive covenant, encroachment or similar
restriction, other than those imposed by the Securities Act (each, an “Encumbrance”, and
collectively, “Encumbrances”). The Purchased Securities, constitute all of the shares of capital
stock of the Purchaser (or options, warrants or rights to purchase shares of capital stock of the
Purchaser or securities convertible into or exchangeable for shares of capital stock of the
Purchaser) owned by the Seller (other than those certain 1,917,210 shares of common stock of the
Purchaser that the Seller is currently holding in abeyance on behalf of certain warrantholders of
the Seller).
None.




                                                   8
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 36 of 81




                                           SECTION 3(F)
                               LEGAL PROCEEDINGS AND ORDERS

(f) Legal Proceedings and Orders. Other than in connection with the Bankruptcy Case, to the
Knowledge of Seller, there is no action, suit, arbitration, proceeding (including any civil, criminal,
administrative, investigative or appellate proceeding or any informal proceeding) or investigation
pending or being heard by or before, or otherwise involving, any Governmental Authority or any
arbitrator or arbitration panel (each a “Proceeding”) and no Person has threatened in writing to
commence any Proceeding, in each case, that would reasonably be expected to have the effect of
preventing, materially delaying, making illegal or otherwise materially interfering with any of the
Transactions contemplated by this Agreement. To the Knowledge of Seller, and except as
described in Section 3(f) of the Seller Disclosure Schedule, there is no governmental order, writ,
injunction, judgment or decree to which the Purchased Securities are subject.

There are ongoing legal proceedings as set out in details in Form S-1 Registration Statement (see
page 203-204 (under “Business – Legal Proceedings”)). As an update to the section “Former
Employee Litigation” in such Form S-1 Registration Statement, on September 1, 2023, the
Delaware Court of Chancery (the “Court”) issued a memorandum opinion addressing liability in
this case, finding in favor of Sorrento Therapeutics, Inc. and Scilex Pharmaceuticals Inc. (on all
but three counts deemed to have been waived). The Court has requested additional briefing by the
parties before making its ruling on remedies.




                                                  9
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 37 of 81




                                          SECTION 3(G)
                                         SEC MATTERS

(g) SEC Matters. The sale of the Purchased Securities by the Seller is not part of a plan or scheme
to evade the registration requirements of the Securities Act. Neither the Seller nor any Person (as
defined below) acting on behalf of the Seller has offered or sold any of the Purchased Securities
by any form of general solicitation or general advertising.

None.




                                                10
     Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 38 of 81




                                          SECTION 3(H)
                                           BROKERS

(o) Brokers. Except as set forth in Section 3(h) of the Seller Disclosure Schedule, no Person is
entitled to any brokerage, financial advisory, finder’s or similar fee or commission payable by the
Seller or any of its Affiliates in connection with the Transactions contemplated by this Agreement.

   1. Moelis & Company LLC.




                                                11
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 39 of 81




                            EXHIBIT B

              Mutual Termination and Release Agreement
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 40 of 81

                                                                                EXECUTION VERSION


                    MUTUAL TERMINATION AND RELEASE AGREEMENT

        This Mutual Termination and Release Agreement (this “Agreement”) is entered into as of
September 21, 2023, by and between Sorrento Therapeutics, Inc., a Delaware corporation, (“Sorrento”),
and Oramed Pharmaceuticals, Inc., a Delaware corporation (“Oramed”, and together with Sorrento, the
“Parties”).

        WHEREAS, on February 13, 2023, Sorrento, together with its wholly-owned subsidiary, Scintilla
Pharmaceuticals, Inc., commenced voluntary proceedings under Chapter 11 of the United States
Bankruptcy in the United States Bankruptcy Court for the Southern District of Texas (the “Bankruptcy
Court”), which case has been administered under Case No. 23-90085 (DRJ) (the “Chapter 11 Case”);

      WHEREAS, on August 7, 2023, Sorrento and Oramed entered into that certain Stock Purchase
Agreement (as amended, the “Oramed Stock Purchase Agreement”);

        WHEREAS, on September 11, 2023, in connection with the Chapter 11 Case and upon further
negotiation between Sorrento, Scilex Holding Company, a Delaware corporation (“Scilex”) and Oramed in
connection with the proposed sale by Sorrento and acquisition by Scilex of the Purchased Securities (as
defined in Scilex Stock Purchase Agreement (as defined below)), entered into that certain Non-Binding
Term Sheet (the “Term Sheet”), which includes as Exhibit A thereto that certain Term Sheet for Senior
Secured Note and Warrants and Related Matters (the “Senior Debt Term Sheet” and, together with the Short
Form Term Sheet, the “Term Sheets”, and the transactions contemplated thereby, collectively, the
“Transactions”);

        WHEREAS, the Bankruptcy Court has, by order dated September 12, 2023 [Docket No. 1316]
(the “Approval Order”), approved the Term Sheets, and in connection therewith, (i) conditionally vacated
the Oramed Stock Purchase Agreement and the order dated August 30, 2023 [Docket No. 1267], effective
upon closing of the Transactions, and (ii) extended the restrictions on certain transfers of Scilex common
stock set forth in the Court’s Order Extending the Application of the Automatic Stay to Continue the
Restricted Trading Period for Shares of Scilex Stock Distributed to the Debtors’ Shareholders from
September 1, 2023 to March 31, 2024;

        WHEREAS, on September [21], 2023, Sorrento and Scilex entered into that certain Stock Purchase
Agreement (the “Scilex Stock Purchase Agreement”), pursuant to which Sorrento agreed to sell and transfer
to Scilex and Scilex agreed to purchase and acquire the Purchased Securities (as defined therein); and

         WHEREAS, in connection with the closing of the Scilex Stock Purchase Agreement and in
furtherance of the Transactions, Sorrento and Oramed desire to terminate in all respects the Oramed Stock
Purchase Agreement effective upon the closing of the Transactions, and to deliver mutual full, irrevocable
and unconditional releases of any and all claims and causes of action, including, without limitation, claims
and causes of action relating to or arising from or in connection with the Stock Purchase Agreement (and
related documents) effective upon the closing of the Transactions.

        NOW, THEREFORE, in consideration of the mutual agreements contained herein, and good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the Parties agree as
follows:

        Section 1.     Termination of the Oramed Stock Purchase Agreement. Pursuant to Section 7(a)
of the Oramed Stock Purchase Agreement, effective upon the closing of the Transactions, each of Sorrento

                                                     1

140480627v4
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 41 of 81



and Oramed hereby consents to the termination of the Oramed Stock Purchase Agreement, all of the other
Transaction Documents (as defined in the Oramed Stock Purchase Agreement) and the transactions
contemplated by the Oramed Stock Purchase Agreement and such other Transactions Documents, and
acknowledges and agrees that the Oramed Stock Purchase Agreement and all of the other Transaction
Documents are of no further force and effect and each of the Oramed Stock Purchase Agreement, the other
Transaction Documents and the transactions contemplated by the Oramed Stock Purchase Agreement and
such other Transactions Documents are hereby terminated in all respects.

        Section 2.        Mutual Releases.

                  (a)      Effective upon the closing of the Transactions, each of Sorrento and Oramed, on
behalf of itself and its predecessors, successors, affiliates, heirs, administrators, executors, assigns and each
of their respective officers, directors, partners, managers, members, financial advisors, accountants,
actuaries, shareholders, agents, attorneys, representatives, employees, direct and indirect parent entities,
subsidiaries, heirs, administrators, and executors and with respect to Sorrento, its estate and any trustee or
other estate representative appointed in the Chapter 11 Case or any successor case (collectively, and whether
current or former, in each case in his, her, or its capacity as such, the “Releasing Parties”), do hereby
irrevocably and unconditionally release and discharge the other Party hereto and such other Party’s
predecessors, successors, affiliates, heirs, administrators, executors, assigns and each of their respective
officers, directors, partners, managers, members, financial advisors, accountants, actuaries, shareholders,
agents, attorneys, representatives, employees, direct and indirect parent entities, subsidiaries, heirs,
administrators, and executors (collectively, and whether current or former, in each case in his, her, or its
capacity as such, the “Released Parties”), and each of them, of and from any and all actions, suits, causes of
action, contracts, debts, sums of money, controversies, claims, demands, liabilities, losses, judgments, costs,
attorney’s fees, damages and expenses, in each case of any kind whatsoever, whether in law, equity or
otherwise, known or unknown, actual or contingent, mature or unmatured, disputed or undisputed, accrued
or not accrued, foreseen or unforeseen, then existing or thereafter arising, in law, at equity or otherwise,
whether individual, class, direct or derivative in nature, whether for tort, contract, negligence, gross
negligence, strict liability, contribution, subrogation, respondiat superior, breach of fiduciary duty,
recharacterization, subordination, violations of federal or state securities laws, rules or regulations, or
otherwise, based, in whole or in part, on any act, omission, transaction, event or other occurrence or
circumstances (each, a “Claim” and collectively, “Claims”) taking place on or before the date hereof which
any of the Releasing Parties may now have or ever has had, prior to and including the date hereof through,
including, without limitation, any Claims relating to or arising in connection with the Oramed Stock
Purchase Agreement and the other Transaction Documents (as defined in the Oramed Stock Purchase
Agreement), and the Breakup Fee and Expense Reimbursement (each as defined in the Oramed Stock
Purchase Agreement).

                  (b)     Each Party, on its own behalf and on behalf of its respective Releasing Parties,
covenants not to directly or indirectly sue, participate in any suit (unless lawfully compelled to do so by
service with a subpoena or other legal process, demand, or order), or threaten to sue, or otherwise assert
any Claim or initiate any other action, arbitration, or proceeding, or in any other way assist others in any
action, arbitration, or proceeding (unless lawfully compelled to do so by service with a subpoena or other
legal process, demand, or order), of any kind (including, without limitation, lawsuits, arbitrations,
administrative proceedings, proceedings before any government body, complaints, or appeals), against any
Released Party concerning, relating to, or arising from any of the Claims.

                 (c)      Each Party (on behalf of itself and its respective Releasing Parties) hereby: (i)
acknowledges a familiarity with Section 1542 of the Civil Code of the State of California, which provides
as set forth below this Section 2(c); (ii) recognizes that it may have some claim, demand, or cause of action
against the other Party or any of such other Party’s respective Released Parties of which it (or its respective
                                                        2
140480627v4
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 42 of 81



Releasing Parties) is unaware and unsuspecting, and which it is (or its respective Releasing Parties are)
giving up by signing this Agreement; and (iii) hereby expressly waives and relinquishes every right or
benefit which he, she, or it has under Section 1542 of the Civil Code of the State of California, and any
similar statute under any other state or federal law, principle of common law, or international or foreign
law, to the fullest extent that such right or benefit may lawfully be waived, regardless of whether such Party
(or any its respective Releasing Parties) is aware of or suspects such Claims at the time such Party executes
this Agreement or whether it later discovers Claims that may be different than, or in addition to, those that
such Party (or any of its respective Releasing Parties) now knows or believes to exist regarding the subject
matter of the release provided in Section 2(a).

        “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE CREDITOR
        OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR
        HER FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF
        KNOWN BY HIM OR HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER
        SETTLEMENT WITH THE DEBTOR OR RELEASED PARTY.”

                 (d)      Notwithstanding anything in this Agreement to the contrary, (i) Sorrento’s
obligations under that certain Senior Secured, Super-Priority Debtor-in-Possession Loan and Security
Agreement, by and among Oramed on the one hand, and Sorrento and Scilex on the other hand, dated as of
August 8, 2023 (the “Senior DIP”), any other definitive agreements entered into in connection therewith
and ancillary thereto and the Order (I) Authorizing the Debtors to (A) Obtain Replacement Senior Secured
Superpriority Postpetition Financing and (B) Use Cash Collateral, (II) Granting Liens and Providing
Claims with Superpriority Administrative Expense Status, (III) Modifying the Automatic Stay, (IV) Granting
Stalking Horse Protections and (V) Granting Related Relief [Docket No. 1184] shall not be released or
discharged pursuant to this Agreement, and (ii) the terms of this Agreement shall not, and shall not be
construed to, limit (I) the terms and scope of the releases provided in Paragraphs 14, 17, and 20 of the
Approval Order or (II) the terms of the that certain Assignment, Assumption and Release Agreement
entered into on the date hereof by Scilex, Oramed and Sorrento, including any release by either of the
Parties provided therein.

        Section 3.       Miscellaneous.

                  (a)     Representations of the Parties. Each Party represents and warrants to the other
that: (i) it has duly executed and delivered this Agreement and it has all requisite corporate power and
authority to execute this Agreement; (ii) its entrance into this Agreement has been duly authorized by all
necessary corporate action on the part of such Party; and (iii) this Agreement constitutes the legal, valid,
and binding obligation of such Party, enforceable against it in accordance with its terms.

                (i)      Public Announcements. Each of the Parties may make any filings or public
announcement it reasonably deems necessary in order to comply with the requirements of any applicable
Law, including, without limitation, the filing by any of the Parties of any Form 8-K, Schedule 13G or
Schedule 13G/A, Schedule 13D or Schedule 13D/A, Form 3, Form 4 or other appropriate filings with the
SEC. Except as a Party reasonably deems necessary to comply with the requirements of any applicable
Law, no Party may issue any press release or make any other public announcement relating to the subject
matter of this Agreement or the Transactions contemplated hereby without the prior written consent of the
other Party, which shall not be unreasonably withheld, conditioned or delayed.

                (b)     Governing Law. This Agreement shall be governed by, and construed in
accordance with, the law of the State of New York applicable to contracts made and to be performed entirely
within such State. All actions and proceedings arising out of or relating to this Agreement shall be heard
and determined exclusively in the United States Bankruptcy Court for the Southern District of Texas, and
                                                      3
140480627v4
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 43 of 81



the Parties hereby irrevocably submit to the exclusive jurisdiction of such court in any such action or
proceeding and irrevocably waive the defense of an inconvenient forum to the maintenance of any such
action or proceeding; provided, however, that, if the Bankruptcy Case is closed, any action, claim, suit or
proceeding arising out of, based upon, or relating to this Agreement or the transactions contemplated herby
shall be heard and determined exclusively in any state or federal court located in New York County, New
York. Each Party agrees that a final, non-appealable judgment in any such action or proceeding shall be
conclusive and may be enforced in other jurisdictions by suit on the judgment or in any other manner
provided by law. Each Party hereto irrevocably waives any objection, including any objection to the laying
of venue or based on the grounds of forum non conveniens, which it may now or hereafter have to the
bringing of any action or proceeding in such jurisdiction in respect of this Agreement or any other document
related hereto. EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY CONTROVERSY
THAT MAY ARISE UNDER THIS AGREEMENT IS LIKELY TO INVOLVE COMPLICATED
AND DIFFICULT ISSUES, AND THEREFORE IT HEREBY IRREVOCABLY AND
UNCONDITIONALLY WAIVES ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN
RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY.

                  (c)     Severability. If any term or other provision of this Agreement is invalid, illegal or
incapable of being enforced by any rule of law, all other terms, conditions and provisions of this Agreement
shall nevertheless remain in full force and effect so long as the economic or legal substance of the
transactions contemplated hereby is not affected in any manner materially adverse to any Party. Upon a
determination that any term or other provision of this Agreement is invalid, illegal or incapable of being
enforced, the Parties shall negotiate in good faith to modify this Agreement so as to effect the original intent
of the Parties as closely as possible.

                  (d)     Mutual Drafting. The Parties participated jointly in the negotiation and drafting of
this Agreement and the language used in this Agreement shall be deemed to be the language chosen by the
Parties to express their mutual intent. If an ambiguity or question of intent or interpretation arises, then this
Agreement will accordingly be construed as drafted jointly by the Parties, and no presumption or burden of
proof will arise favoring or disfavoring any Party by virtue of the authorship of any of the provisions of this
Agreement.

                  (e)     Headings. The headings of this Agreement are for purposes of reference only and
shall not limit or otherwise affect the meaning hereof.

                 (f)     Successors and Assigns. This Agreement shall inure to the benefit of and be
binding upon the successors and assigns of each of the Parties including, without limitation, with respect to
Sorrento, any trustee or other estate representative appointed in the Chapter 11 Case or any successor case.

                 (g)     Counterparts. This Agreement may be executed with counterpart signature pages
or in one or more counterparts, each of which shall be deemed an original, but all of which together shall
constitute one and the same instrument. Counterpart signature pages or counterparts of this Agreement
may be executed and delivered by electronic means (including in .pdf format sent by electronic mail) and
other electronic signatures, and the receiving party may rely on the receipt of such document so executed
and delivered by electronic means as if the original had been received.

                                          [Signature Pages Follow]




                                                       4
140480627v4
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 44 of 81
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                   Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 45 of 81



                   IN WITNESS WHEREOF, each of the undersigned has caused this Agreement to be duly
            executed and delivered as of the date first above written.


                                                                SORRENTO THERAPEUTICS, INC.



                                                                By: __________________________________
                                                                    Name:
                                                                    Title:

                                                                ORAMED PHARMACEUTICALS, INC.



                                                                By: __________________________________
                                                                    Name: Nadav Kidron
                                                                    Title: Chief Executive Officer


                                                               By:_______________________________
                                                                    Name: Josh Hexter
                                                                    Title: Chief Business and Operating Officer




                                    [Signature Page to Mutual Termination and Release Agreement]
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 46 of 81




                             EXHIBIT C

             Assignment, Assumption and Release Agreement
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 47 of 81
                                                                                EXECUTION VERSION


                  ASSIGNMENT, ASSUMPTION AND RELEASE AGREEMENT

       THIS ASSIGNMENT, ASSUMPTION AND RELEASE AGREEMENT (this “Agreement”) is
executed on September 21, 2023 (the “Effective Date”), by and among Scilex Holding Company (“Scilex”),
Oramed Pharmaceuticals Inc. (“Oramed”), Sorrento Therapeutics, Inc. (“Sorrento”), and Scintilla
Pharmaceuticals, Inc. (together with Sorrento, the “Debtors”).

                                          W I T N E S S E T H:

         WHEREAS, on February 13, 2023, the Debtors commenced voluntary proceedings under
Chapter 11 of the United States Bankruptcy Code (the “Bankruptcy Code”) in the United States Bankruptcy
Court for the Southern District of Texas (the “Bankruptcy Court”). The Debtors’ Chapter 11 proceedings
are jointly administered under the caption In re Sorrento Therapeutics, Inc., et al., Case Number 23-90085
(DRJ) (the “Chapter 11 Cases”);

        WHEREAS, the Debtors have been conducting a marketing process for the sale or disposition of
all or any portion of the Debtors’ assets under section 363 of the Bankruptcy Code, including (x) the
Debtors’ equity interests in its non-debtor subsidiaries, including, but not limited to, Scilex and (y) the
Debtors’ other assets;

         WHEREAS, Oramed agreed, and after a hearing before the Bankruptcy Court on August 7, 2023,
the Bankruptcy Court approved, pursuant to that certain Senior Secured, Super-Priority Debtor-In-
Possession Loan and Security Agreement (the “DIP Loan Agreement”) entered into on August 9, 2023, to
provide a non-amortizing super-priority senior secured debtor-in-possession term loan facility (the “Senior
DIP Facility”) in an aggregate principal amount of $100,000,000, which amount was subsequently drawn
in full by the Debtors. As of the Effective Date, the aggregate outstanding Obligations under the Senior
DIP Facility is $101,875,000, comprised of $100,000,000 principal, $875,000 accrued and unpaid interest
and $1,000,000 fees and expenses payable under the Senior DIP Facility (the “DIP Facility Obligations”);
capitalized terms used herein but otherwise defined shall have the meanings so defined in the DIP Loan
Agreement;

         WHEREAS, on September 11, 2023, Scilex, Oramed and Sorrento executed non-binding term
sheets relating to, among other things, the Securities Transfer (as defined below) (the “Securities Transfer
Term Sheet”) (which the official committee of unsecured creditors and the official committee of equity
security holders in the Chapter 11 Cases have each signed as “Consenting Parties” thereto) and the Note
Documents (as defined below) (the “Note Term Sheet” and together with the Securities Transfer Term
Sheet, the “Scilex Term Sheets”). The Scilex Term Sheets are subject to entry into definitive
documentation relating thereto. The transactions contemplated by the Scilex Term Sheets are expected to
close on or about September 19, 2023;

         WHEREAS, after a hearing before the Bankruptcy Court on September 12, 2023, the Bankruptcy
Court approved, among other things, the Scilex Term Sheets and entered the Order (I) Approving Sale of
Scilex Stock to Scilex Holdings Company Free and Clear of All Liens, Claims, Interests, and Encumbrances,
(II) Conditionally Vacating the Oramed Sale Order, and (III) Granting Related Relief [Docket No. 1316]
(the “Scilex Sale Order”);

        WHEREAS, pursuant to the Securities Transfer Term Sheet, the parties to the Securities Transfer
Term Sheet agreed that Scilex would acquire all of the Scilex Common Shares owned by Sorrento (other
than Scilex Common Shares held in abeyance by Sorrento on behalf of certain warrantholders of Sorrento)
(the “Common Transfer Shares”), (ii) all of the Scilex Preferred Shares owned by Sorrento (the “Preferred
Transfer Shares”) and (iii) all of the warrants for the purchase of shares of Scilex common stock owned


LEGAL_US_W # 117705198.3
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      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 48 of 81



by Sorrento (the “Transfer Warrants”, and together with the Common Transfer Shares and the Preferred
Transfer Shares, the “Transfer Securities”) (collectively, the “Securities Transfer”) for an aggregate
consideration of $110 million, payable (i) by means of Scilex’s assumption of the Debtors’ DIP Facility
Obligations (the “Senior DIP Assumption”), and (ii) by such other consideration as set forth in the
Securities Transfer Term Sheet;

        WHEREAS, in connection with the Senior DIP Assumption, Scilex and Oramed will enter into
certain note documents, including, without limitation, a securities purchase agreement (the “Securities
Purchase Agreement”), senior secured promissory note and certain security documents (together with the
Securities Purchase Agreement, the “Note Documents”), which will amend and restate in their entirety the
Loan Documents; and

        WHEREAS, in connection with this Agreement and the Note Documents, contemporaneously
with this Agreement, Sorrento and Oramed have entered into that certain Mutual Termination and Release
Agreement in respect of that certain Stock Purchase Agreement, dated as of August 7, 2023 (the “SPA
Termination”), by and between Sorrento and Oramed.

        NOW, THEREFORE, in consideration of the mutual agreements contained herein, and good and
valuable consideration, the receipt and sufficiency of which are hereby acknowledged, the parties hereto
agree as follows:

                1.       Representations by the Debtors and Oramed. The Debtors and Oramed each
hereby represents and warrants that (i) as of the Effective Date, the aggregate outstanding amount of all
Obligations under DIP Loan Agreement and all other Loan Documents is $101,875,000, comprised of
$100,000,000 principal, $875,000 accrued and unpaid interest and $1,000,000 fees and expenses payable
under the DIP Loan Agreement and all other Loan Documents, and (ii) there are no offsets, counterclaims
or defenses against the repayment of the DIP Facility Obligations as of the Effective Date.

              2.     Senior DIP Assumption. Effective upon execution and delivery of the Note
Documents and the SPA Termination by the parties thereto:

                            (a)     the Debtors hereby irrevocably assign and transfer to Scilex all of their
rights, title and interests and duties, liabilities and obligations under the DIP Loan Agreement and the other
Loan Documents;

                          (b)     Scilex hereby irrevocably and unconditionally accepts such assignment
and assumes such rights, title and interests and assumes such duties, liabilities and obligations from the
Debtors, including without limitation, any claims, liabilities or obligations arising from any failure of the
Debtors to perform any of their covenants, agreements, commitments and/or obligations to be performed
prior to the date hereof under the DIP Loan Agreement and the other Loan Documents; provided, however,
that such indebtedness shall be governed by the Note Documents, which amend, restate and replace in their
entirety the DIP Loan Agreement and the other Loan Documents;

                           (c)   Oramed consents to the assignment and assumption described in Sections
2(a) and 2(b);

                          (d)      the parties hereto hereby agree that the Note Documents shall amend,
restate and replace in their entirety the DIP Loan Agreement and the other Loan Documents; and

                          (e)      the facility evidenced by the Note Documents shall not constitute a debtor-
in-possession credit facility in the Chapter 11 Cases.
                                                      2
LEGAL_US_W # 117705198.3
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 49 of 81



              3.      Releases. Effective upon execution and delivery of the Note Documents and the
SPA Termination by the parties thereto, but without further action on the part of any party:

                          (a)       Release of Debtors. Oramed hereby releases and discharges the Debtors
from any and all obligations and liabilities arising with respect to or relating to the DIP Loan Agreement
and the other Loan Documents and agrees that the Obligations of the Debtors thereunder shall be
automatically terminated and the Debtors shall be forever released and discharged and (b) any and all
security interests, pledges, liens and other interests in favor of Oramed in the Debtor’s assets shall be forever
released and discharged. Oramed hereby agrees that it shall promptly execute and deliver such additional
documents and shall provide additional information as the Debtors may deem necessary or reasonably
appropriate in order to evidence or otherwise give public notice of this release.

                        (b)      Mutual Release. Without limiting the foregoing, Oramed, Scilex, and the
Debtors agree to the mutual releases in accordance with, and to the fullest extent set forth in the Scilex Sale
Order.

                         (c)     Waiver of Section 1542. All parties providing releases pursuant to this
Agreement expressly and voluntarily waive Section 1542 of the California Civil Code, or any similar,
comparable or equivalent provision of the statutory or non-statutory law of California or any other
jurisdiction, and expressly consents that this Agreement shall be given full force and effect according to
each and all of its express terms and provisions, including those relating to unknown and unsuspected
claims, if any. Section 1542 provides:

           “A GENERAL RELEASE DOES NOT EXTEND TO CLAIMS THAT THE
CREDITOR OR RELEASING PARTY DOES NOT KNOW OR SUSPECT TO EXIST IN HIS OR HER
FAVOR AT THE TIME OF EXECUTING THE RELEASE AND THAT, IF KNOWN BY HIM OR
HER, WOULD HAVE MATERIALLY AFFECTED HIS OR HER SETTLEMENT WITH THE
DEBTOR OR RELEASED PARTY.”

                   4.       Authority; Valid Existence. Each of the parties hereto represents and warrants
to each other party hereto that: (i) it has duly executed and delivered this Agreement and it has all requisite
corporate power and authority to execute, and deliver and perform its obligations under, this Agreement;
(ii) its entrance into this Agreement has been duly authorized by all necessary corporate action on the part
of such party, and; (iii) this Agreement constitutes the legal, valid, and binding obligation of such party,
enforceable against it such party accordance with its terms; and (iv) it is duly organized and validly existing
under the laws of Delaware.

                 5.       Binding Effect. This Agreement shall be binding upon and shall inure to the
benefit of the parties hereto and their respective successors and assigns, including, without limitation, with
respect to the Debtors, any trustee or other estate representative appointed in the Chapter 11 Cases or any
successor case (including any cases under Chapter 7 of the Bankruptcy Code).

                 6.      Severability. In the event that any one or more of the provisions contained in this
Agreement shall be held to be invalid, illegal, or unenforceable in any respect, the validity, legality or
enforceability of the remaining provisions contained herein shall not, in any way, be affected or impaired.

                 7.      Amendments. This Agreement may be modified with (and only with) the written
consent of the each of the parties hereto.

                8.     Governing Law; Waiver of Jury Trial. This Agreement shall be construed,
interpreted and enforced under and pursuant to the laws of the State of New York, without regard to
                                                       3
LEGAL_US_W # 117705198.3
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 50 of 81



principles of conflict of laws. All actions and proceedings arising out of or relating to this Agreement shall
be heard and determined exclusively in the United States Bankruptcy Court for the Southern District of
Texas, and the parties hereto hereby irrevocably submit to the exclusive jurisdiction of such court in any
such action or proceeding and irrevocably waive the defense of an inconvenient forum to the maintenance
of any such action or proceeding; provided, however, that, if the Bankruptcy Case is closed, any action,
claim, suit or proceeding arising out of, based upon, or relating to this Agreement or the transactions
contemplated herby shall be heard and determined exclusively in any state or federal court located in New
York County, New York. Each party agrees that a final, non-appealable judgment in any such action or
proceeding shall be conclusive and may be enforced in other jurisdictions by suit on the judgment or in any
other manner provided by law. Each party hereto irrevocably waives any objection, including any objection
to the laying of venue or based on the grounds of forum non conveniens, which it may now or hereafter
have to the bringing of any action or proceeding in such jurisdiction in respect of this Agreement or any
other document related hereto. EACH PARTY ACKNOWLEDGES AND AGREES THAT ANY
CONTROVERSY THAT MAY ARISE UNDER THIS AGREEMENT IS LIKELY TO INVOLVE
COMPLICATED AND DIFFICULT ISSUES, AND THEREFORE IT HEREBY IRREVOCABLY
AND UNCONDITIONALLY WAIVES ANY RIGHT IT MAY HAVE TO A TRIAL BY JURY IN
RESPECT OF ANY LITIGATION DIRECTLY OR INDIRECTLY ARISING OUT OF OR
RELATING TO THIS AGREEMENT OR THE TRANSACTIONS CONTEMPLATED HEREBY.

                 9.      Counterparts; Electronic Transmission. This Agreement may be executed with
counterpart signature pages or in one or more counterparts, each of which shall be deemed an original, but
all of which together shall constitute one and the same instrument. Counterpart signature pages or
counterparts of this Agreement may be executed and delivered by electronic means (including in .pdf format
sent by electronic mail) and other electronic signatures, and the receiving party may rely on the receipt of
such document so executed and delivered by electronic means as if the original had been received.

                10.        Valuation.

                          (a)    For purposes of this Agreement, “Warrants” means, collectively: (i) the
warrant to purchase common stock (and any other class of securities into which such securities may
hereafter be reclassified or changed) of Scilex, par value $0.0001 per share (“Common Stock”), delivered
to Oramed on the Effective Date, which warrant shall have an exercise price of $0.01 per share of Common
Stock issuable upon exercise thereof, and be exercisable for 4,500,000 shares of Common Stock; (ii) the
warrants to purchase Common Stock delivered to Oramed on the Effective Date, which warrants shall have
an exercise price of $0.01 per share of Common Stock issuable upon exercise thereof, and be exercisable
for an aggregate number of up to 8,500,000 shares of Common Stock; and (iii) the warrant to purchase
Common Stock transferred to Oramed on the Effective Date, which warrant has an exercise price of $11.50
per share of Common Stock issuable upon exercise thereof, and is exercisable for 4,000,000 shares of
Common Stock.

                         (b)     Within twenty (20) Business Days (as that term is defined in the Securities
Purchase Agreement) after the Effective Date, Oramed will prepare and deliver to the Debtors and Scilex a
preliminary valuation statement (the “Proposed Valuation Statement”) setting forth its calculation of the
valuation of the Warrants. Each of the Debtors and Scilex shall have ten (10) Business Days thereafter to
dispute such Proposed Valuation Statement, with any failure to dispute during this time deemed an
acceptance of such Proposed Valuation Statement as a “Final Valuation Statement.” In the event of any
dispute regarding the Proposed Valuation Statement, Oramed, the Debtors and Scilex shall negotiate in
good faith to resolve such dispute; provided, however, that if such parties are unable to resolve any such
dispute within fifteen (15) Business Days after a notification of dispute to Oramed, the parties shall use
reasonable discretion to select a nationally-recognized expert in valuing assets of this type (with each of
Oramed, the Debtors and Scilex bearing one-third of the associated fees and expenses). The selected expert
                                                      4
LEGAL_US_W # 117705198.3
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 51 of 81



resolution will be the Final Valuation Statement and shall be deemed final and binding as to each of
Oramed, the Debtors and Scilex. Except as specifically required pursuant to a final “determination” within
the meaning of Section 1313(a) of the Code, the parties shall report and file Tax Returns in all respects and
for all purposes in a manner consistent with the Final Valuation Statement, and shall not take any position
before any Governmental Authority that is in any way inconsistent with the Final Valuation Statement.

            THE REMAINDER OF THIS PAGE IS INTENTIONALLY LEFT BLANK;
                          SIGNATURE PAGES FOLLOWS




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                   Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 52 of 81



                            IN WITNESS WHEREOF, Scilex, Oramed and the Debtors, by their respective duly
            authorized representatives, have executed and delivered this Agreement as of the day and year first above
            written.

                                                                SCILEX HOLDING COMPANY,
                                                                a Delaware corporation


                                                                By:_____________________________
                                                                Name: Jaisim Shah
                                                                Title: Chief Executive Officer and President




                            [Signature Page to Senior DIP Assignment, Assumption and Release Agreement]
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                   Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 53 of 81



                                                                 ORAMED PHARMACEUTICALS INC.,
                                                                 a Delaware corporation


                                                                 By:_____________________________
                                                                 Name: Nadav Kiron
                                                                 Title: Chief Executive Officer


                                                                 By:_________________________________
                                                                 Name: Josh Hexter
                                                                 Title: Chief Business and Operating Officer
                                                                 er


                                                    [Signature pages continue]




                             [Signature Page to Senior DIP Assignment, Assumption and Release Agreement]
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 54 of 81
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 55 of 81




                             EXHIBIT D

         Assumption and Assignment of Legal Fees and Expenses
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 56 of 81




September 21, 2023

Sorrento Therapeutics, Inc.
4955 Directors Place
San Diego, CA 92121
Attention: Mohsin Y. Meghji

Re:     Assumption and Assignment of Legal Fees and Expenses

Ladies and Gentlemen:

        Reference is hereby made to that certain Stock Purchase Agreement, dated as of
September 19, 2023, by and between Scilex Holding Company, a Delaware corporation (“Scilex”), and
Sorrento Therapeutics, Inc., a Delaware corporation (“Sorrento”) (as may be amended or restated from
time to time, the “Purchase Agreement”). Each capitalized term used in this letter (the “Letter
Agreement”) but not otherwise defined herein shall have the meaning ascribed to it in the Purchase
Agreement.

         Pursuant to and in accordance with Section 1 of the Purchase Agreement, Sorrento hereby assigns,
and Scilex hereby irrevocably and unconditionally assumes, all of the obligations of Sorrento to Paul
Hastings LLP for those legal fees and expenses reflected in Paul Hasting LLP’s proof of claim #238 filed
with the Bankruptcy Court (attached hereto as Exhibit A) in the amount of $12,249,244.09 (the
“Obligations”). Scilex and Paul Hastings LLP each hereby agree and acknowledge that the Obligations
shall be the sole responsibility of Scilex.

         Except as expressly set forth herein, this Letter Agreement will not amend, modify or otherwise
affect the terms and conditions of the Purchase Agreement, which will remain in full force and effect in
accordance with the terms thereof.

        This Letter Agreement may be executed electronically and in one or more counterparts, each of
which shall be deemed to be an original, but all of which together shall constitute one and the same
instrument.

                                        [Signature page follows]
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                   Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 57 of 81



            Sincerely,

            SCILEX HO LDING CO MPANY



            By: ______________________________
                Name: Jaisim Shah
                Title: Chief Executive Officer and President




                              [Signature Page to Scilex Assumption of Fees Letter Agreement]
     Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 58 of 81


ACKNOWLEDGED AND AGREED:

SORRENTO THERAPEUTICS, INC.


By: ______________________________
    Name: Mohsin Y. Meghji
    Title: Chief Restructuring Officer



The undersigned hereby consents to the assignment and
assumption of the Obligations as set forth above.


Paul Hastings LLP

_____________________




                     [Signature Page to Scilex Assumption of Fees Letter Agreement]
     Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 59 of 81


ACKNOWLEDGED AND AGREED:

SORRENTO THERAPEUTICS, INC.


By: ______________________________
    Name: Mohsin Y. Meghji
    Title: Chief Restructuring Officer



The undersigned hereby consents to the assignment and
assumption of the Obligations as set forth above.


Paul Hastings LLP

_____________________




                     [Signature Page to Scilex Assumption of Fees Letter Agreement]
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 60 of 81


                            EXHIBIT A

                            (See attached)
                     Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 61 of 81
  Fill in this information to identify the case:                                                                                         Date Filed: 06/21/2023
                                                                                                                                         Claim No: 238
  Debtor       Sorrento Therapeutics, Inc.


  United States Bankruptcy Court for the District of       Southern District of Texas


  Case number         23-90085




Official Form 410
Proof of Claim                                                                                                                                         04/22
Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to make a request
for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any documents that support
the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements.
Do not send original documents; they may be destroyed after scanning. If the documents are not available, explain in an attachment.
A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.

Part 1: Identify the Claim
  1.   Who is the current
                                    Paul Hastings LLP
       creditor?

                                     Name of the current creditor (the person or entity to be paid for this claim)


                                     Other names the creditor used with the debtor


  2.   Has this claim been
                                             No
       acquired from someone
       else?                                 Yes.   From whom?

  3.   Where should notices
       and payments to the            Where should notices to the creditor be sent?          Where should payments to the creditor be
       creditor be sent?                                                                     sent? (if different)

       Federal Rule of              See Additional/Expanded Creditor Address(es) page:
       Bankruptcy Procedure
       (FRBP) 2002(g)               Paul Hastings LLP
                                    Jennifer Mulligan
                                    515 South Flower Street, Suit...
                                    Los Angeles, CA 90071
                                    USA
                                    P: 213-683-5649
                                    E: jennifermulligan@paulhastings.com




                                    Uniform claim identifier for electronic payments in chapter 13 (if you use one):
                                    __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

  4.   Does this claim amend
                                             No
       one already filed?
                                             Yes. Claim number on court claims registry (if known)                       Filed on

                                                                                                                                    MM/DD/YYYY

  5.   Do you know if anyone
                                             No
       else has filed a proof of
       claim for this claim?                 Yes. Who made the earlier filing?




Official Form 410                                                                                                                                           Page 1
                                                                120860621233323553000001
             Case 23-90085
Part 2: Give Information        Document
                         About the Claim as1356   Filedthe
                                           of the Date   in Case
                                                            TXSBWas
                                                                 on 09/21/23
                                                                    Filed    Page 62 of 81

 6.    Do you have any number
                                           No
       you use to identify the
       debtor?                             Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor:                 1966


 7.    How much is a claim?          12249244.09                                          Does this amount include interest or other charges?

                                                                                               No

                                                                                               Yes. Attach statement itemizing interest, fees, expenses, or other
                                                                                                    charges required by Bankruptcy Rule 3001(c)(2)(A).


 8.    What is the basis of the
                                      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card
       claim?
                                      Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                      Limit disclosing information that is entitled to privacy, such as health care information.

                                      Legal Services - See attached Exhibits A & B



 9.    Is all or part of the claim
                                         No
       secured?
                                         Yes. The claim is secured by a lien on property

                                                Nature of property

                                                        Real estate.           If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                                               Attachment (Official Form 410-A)with this Proof of Claim.

                                                        Motor vehicle.

                                                        Other. Describe:



                                                   Basis for perfection:


                                                   Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                                   example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has been
                                                   filed or recorded.)

                                                   Value of property:


                                                   Amount of the claim that is secured:


                                                   Amount of the claim that is unsecured:                                             (The sum of the secured and
                                                                                                                                      unsecured amounts should match the
                                                                                                                                      amount in line 7.)


                                                   Amount necessary to cure any default as
                                                   of the date of the petition:


                                                   Annual Interest Rate (when case was filed)                                    %


                                                        Fixed

                                                        Variable




 10.    Is this claim based on a
                                              No
        lease?
                                              Yes.    Amount necessary to cure any default as of the date of the petition.        $



 11.    Is this claim subject to a
                                              No
        right of setoff?
                                              Yes.    Identify the property:




Official Form 410                                                               Proof Of Claim                                                                         Page 2
                      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 63 of 81
  12.   Is all or part of the claim
                                               No
        entitled to priority under
        11 U.S.C. § 507(a)?                    Yes.       Check one:                                                             Amount entitled to priority
        A Claim may be partly                  Domestic support obligations (including alimony and child support)
        priority and partly                    under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
        nonpriority.For example,
        law limits the amount                  Up to $3,350* of deposits toward purchase, lease, or rental of property
        entitled to priority.                  or services for personal, family, or household use. 11 U.S.C. §
                                               507(a)(7).

                                               Wages, salaries, or commissions (up to $15,150*) earned within 180
                                               days before the bankruptcy petition is filed or the debtor’s business
                                               ends, whichever is earlier. 11 U.S.C. § 507(a)(4)

                                               Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).

                                               Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).

                                               Other. Specify subsection of 11 U.S.C. § 507(a)() that applies.



                                          *Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.

  13.   Is all or part of the claim
                                               No
        pursuant to 11 U.S.C
        § 503(b)(9)?                           Yes. Indicate the amount of your claim arising from the value of any goods received by the debtor within 20 days
                                               before the date of commencement of the above case, in which the goods have been sold to the Debtor in the ordinary
                                               course of such Debtor’s business. Attach documentation supporting such claim.



Part 3: Sign Below
 The person completing this proof           Check the appropriate box
 of claim must sign and date it.
 FRBP 9011(b).                                      I am the creditor.

                                                    I am the creditor’s attorney or authorized agent.
 If you file this claim electronically,
 FRBP 5005(a)(2) authorizes courts                  I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 to establish local rules specifying
                                                    I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 what a signature is
                                            I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
 A person who files a fraudulent
                                            amount of the claim, the creditor gave the debtor credit for any payments received toward the debt
 claim could be fined up to
 $500,000, imprisoned for up to 5           I have examined the information in this Proof of Claim and have a reasonable belief that the information is true and correct.
 years, or both. 18 U.S.C. §§ 152,
 157, and 3571.                             I declare under penalty of perjury that the foregoing is true and correct.

                                            Executed on date & time           06/21/2023 at 07:43 am PT
                                                                              MM / DD / YYYY HH : MM
                                            /s/Jennifer E. Mulligan
                                            Signature
                                            Print the name of the person who is completing and signing this claim:
                                            Name                               Jennifer      E.             Mulligan
                                                                               First Name    Middle Name Last Name


                                            Title                             Senior Manager, Client Finance


                                            Company                           Paul Hastings LLP
                                                                              Identify the corporate servicer as the company if the authorized agent is a servicer
                                            Address                            515 South
                                                                               Flower
                                                                               Street,
                                                                               Suite 2500
                                                                               Number        Street

                                                                               Los
                                                                                             CA           90071
                                                                               Angeles
                                                                               City          State        ZIP Code

                                            Contact phone


                                            Email                             jennifermulligan@paulhastings.com




Official Form 410                                                               Proof Of Claim                                                                       Page 3
            Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 64 of 81




Additional/Expanded Creditor Address(es):

 Primary Address (Expanded)
 Paul Hastings LLP
 Jennifer Mulligan
 515 South Flower Street, Suite 2500
 Los Angeles, CA 90071
 USA
 Phone: 213-683-5649
 jennifermulligan@paulhastings.com




                                         Stretto Corporate Restructuring
                                       855.812.6112 inquiries@stretto.com
                                                cases.stretto.com
                                                 Proof Of Claim                   Page 4
    Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 65 of 81


X




           Paul Hastings LLP




           X




               Paul Hastings LLP


           515 South Flower Street, Suite 2500


               Los Angeles, CA 90071


                          213-683-5649

                         jennifermulligan@paulhastings.com



           x




           x
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 66 of 81




        x                                                        91966




                12,249,244.09
                                                 X




                  Legal Services - See attached Exhibits A & B

        X




            X




        X
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 67 of 81
  Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 68 of 81


PAUL HASTINGS LLP – PROOF OF CLAIM – Exhibit A



                                     EXHIBIT A

                                    Claim Analysis

       Paul Hastings LLP (“Paul Hastings” or “Claimant”) provided legal services to
Sorrento Therapeutics, Inc. (“Debtor”) for which Paul Hastings has not been paid. The
fees and expenses owing to Paul Hastings as of February 13, 2023 are as follows:

                            Fees          $11,930,153.66
                            Expenses      $ 319,090.43

                            Total         $12,249,244.09




                                                                                    1
  Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 69 of 81


PAUL HASTINGS LLP – PROOF OF CLAIM – Exhibit B


                                      EXHIBIT B

                                Supporting Documentation

       The documents supporting Paul Hastings’ claim include, without limitation, certain
unpaid invoices (the “Invoices”) that are summarized on the following chart. Paul
Hastings previously delivered the Invoices to the Debtor. To avoid disclosing any
confidential or privileged information, Paul Hastings has not attached the Invoices hereto.

   Invoice       Invoice Date             Fees            Expenses        Total Invoice
   Number                                                                   Amount
    2322900            7/18/2022        $189,786.50         $14,781.88       $204,568.38
    2322901            7/18/2022         $92,106.25          $1,426.09        $93,532.34
    2325136             8/9/2022              $0.00            $125.00           $125.00
    2326038            8/15/2022        $135,186.84          $1,039.76       $136,226.60
    2326149            8/15/2022              $0.00          $1,873.65         $1,873.65
    2326150            8/15/2022         $64,601.00          $6,631.36        $71,232.36
    2326151            8/15/2022        $170,970.00          $2,749.43       $173,719.43
    2326066            8/15/2022            $783.00              $0.00           $783.00
    2326065            8/15/2022          $2,821.50              $0.00         $2,821.50
    2326069            8/15/2022          $1,726.88              $0.00         $1,726.88
    2326037            8/15/2022            $367.88              $0.00           $367.88
    2326064            8/15/2022          $4,362.76              $0.00         $4,362.76
    2326063            8/15/2022         $14,792.50              $0.00        $14,792.50
    2326036            8/15/2022         $31,268.26              $0.00        $31,268.26
    2326035            8/15/2022        $161,392.58          $1,628.00       $163,020.58
    2326039            8/15/2022         $38,604.41             $58.16        $38,662.57
    2326344            8/16/2022            $261.00              $0.00           $261.00
    2328552             9/6/2022              $0.00          $1,948.65         $1,948.65
    2328562             9/9/2022         $80,982.00            $639.75        $81,621.75
    2328553            9/15/2022         $24,909.00          $7,842.87        $32,751.87
    2328554            9/15/2022         $12,262.50            $719.89        $12,982.39
    2329904            9/16/2022        $109,752.85            $313.50       $110,066.35
    2329903            9/16/2022         $23,796.01              $0.00        $23,796.01
    2329876            9/16/2022              $0.00            $125.00           $125.00
    2329902            9/16/2022            $261.00              $0.00           $261.00
    2329881            9/16/2022          $3,393.00             $30.00         $3,423.00
    2329900            9/16/2022        $193,125.42            $157.27       $193,282.69
    2329899            9/16/2022         $87,939.03            $138.56        $88,077.59
    2330642            9/21/2022         $15,515.00              $0.00        $15,515.00
    2329901            9/22/2022         $15,668.75         $19,986.10        $35,654.85
    2333040           10/13/2022              $0.00          $1,798.65         $1,798.65
    2333041           10/13/2022        $247,286.50          $8,979.01       $256,265.51

                                                                                           2
 Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 70 of 81


PAUL HASTINGS LLP – PROOF OF CLAIM – Exhibit B

   2333042       10/13/2022     $17,487.50      $719.89     $18,207.39
   2332883       10/14/2022     $60,612.84      $953.80     $61,566.64
   2332882       10/14/2022      $1,726.88        $0.00      $1,726.88
   2332890       10/14/2022     $18,078.77      $947.56     $19,026.33
   2332889       10/14/2022          $0.00      $125.00        $125.00
   2332881       10/14/2022     $14,748.75        $0.00     $14,748.75
   2332888       10/14/2022        $261.00        $0.00        $261.00
   2332887       10/14/2022      $3,908.75    $7,673.31     $11,582.06
   2332880       10/14/2022     $17,312.65        $0.00     $17,312.65
   2332886       10/14/2022        $805.00        $0.00        $805.00
   2333794       10/19/2022     $22,482.00      $778.33     $23,260.33
   2332879       10/20/2022    $255,299.73        $0.00    $255,299.73
   2336396       11/11/2022      $2,137.50        $0.00      $2,137.50
   2336786       11/14/2022          $0.00    $1,868.65      $1,868.65
   2336787       11/14/2022    $281,236.00   $13,715.82    $294,951.82
   2336788       11/14/2022      $1,230.00      $620.89      $1,850.89
   2337108       11/17/2022     $15,405.75        $0.00     $15,405.75
   2337457       11/18/2022     $47,041.91    $1,358.21     $48,400.12
   2337461       11/18/2022      $1,381.51        $0.00      $1,381.51
   2337460       11/18/2022      $3,453.75        $0.00      $3,453.75
   2337464       11/18/2022          $0.00      $125.00        $125.00
   2337463       11/18/2022        $256.50        $0.00        $256.50
   2337462       11/18/2022          $0.00      $230.16        $230.16
   2337456       11/18/2022      $3,889.14        $0.00      $3,889.14
   2337455       11/18/2022     $42,471.25        $0.00     $42,471.25
   2337459       11/18/2022     $21,447.01        $0.00     $21,447.01
   2337454       11/18/2022     $35,044.88        $0.00     $35,044.88
   2337458       11/18/2022      $7,647.50        $0.00      $7,647.50
   2340336       12/14/2022      $5,755.51      $526.86      $6,282.37
   2340970       12/14/2022          $0.00    $1,873.65      $1,873.65
   2340314       12/14/2022          $0.00      $125.00        $125.00
   2340972       12/14/2022          $0.00      $719.89        $719.89
   2340342       12/14/2022      $1,827.00        $0.00      $1,827.00
   2340313       12/14/2022      $2,308.50        $0.00      $2,308.50
   2340328       12/14/2022        $735.75        $0.00        $735.75
   2340312       12/14/2022      $1,381.50        $0.00      $1,381.50
   2340326       12/14/2022      $6,278.64        $0.00      $6,278.64
   2340335       12/14/2022     $70,628.63        $0.00     $70,628.63
   2340332       12/14/2022     $15,603.77        $0.00     $15,603.77
   2340338       12/15/2022     $71,744.71      $478.63     $72,223.34
   2340329       12/15/2022     $19,456.89        $0.00     $19,456.89
   2340971       12/15/2022    $390,035.50   $12,713.23    $402,748.73
   2340327       12/15/2022     $11,222.50    $4,533.20     $15,755.70
   2340588       12/15/2022     $17,020.13      $282.00     $17,302.13


                                                                         3
 Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 71 of 81


PAUL HASTINGS LLP – PROOF OF CLAIM – Exhibit B

   2340587        12/15/2022       $4,157.00        $0.00     $4,157.00
   2340333        12/15/2022     $142,200.06        $0.00   $142,200.06
   2344097         1/12/2023           $0.00    $1,873.65     $1,873.65
   2344098         1/12/2023     $117,766.50    $6,741.14   $124,507.64
   2344099         1/12/2023           $0.00      $719.89       $719.89
   2344042         1/13/2023      $21,906.01        $0.00    $21,906.01
   2344041         1/13/2023       $1,946.26        $0.00     $1,946.26
   2344047         1/13/2023         $261.00        $0.00       $261.00
   2344046         1/13/2023       $4,360.50        $0.00     $4,360.50
   2344036         1/13/2023      $14,467.50    $3,897.00    $18,364.50
   2344035         1/13/2023      $26,910.00        $0.00    $26,910.00
   2344045         1/13/2023         $867.38      $668.40     $1,535.78
   2344040         1/13/2023      $10,053.00        $0.00    $10,053.00
   2344039         1/13/2023       $2,137.50        $0.00     $2,137.50
   2344034         1/13/2023     $338,705.09        $0.00   $338,705.09
   2344044         1/13/2023       $3,108.38        $0.00     $3,108.38
   2344037         1/20/2023      $71,056.18      $195.34    $71,251.52
   2347126         2/10/2023           $0.00    $1,873.65     $1,873.65
   2347197         2/10/2023     $214,095.00    $8,270.53   $222,365.53
   2347127         2/10/2023       $7,156.25      $720.54     $7,876.79
   2348399         2/24/2023      $31,691.28    $7,748.03    $39,439.31
   2348126         2/21/2023         $513.00        $0.00       $513.00
   2348127         2/21/2023           $0.00      $250.00       $250.00
   2348128         2/21/2023      $13,213.13        $0.00    $13,213.13
   2348129         2/21/2023      $77,766.81      $265.42    $78,032.23
   2348130         2/21/2023      $34,892.50   $57,911.30    $92,803.80
   2348131         2/21/2023       $3,037.50    ($230.16)     $2,807.34
   2348132         2/21/2023       $2,227.50        $0.00     $2,227.50
   2347501         2/17/2023       $2,156.25        $0.00     $2,156.25
   2347502         2/17/2023      $29,621.29       $17.27    $29,638.56
   2350618         3/30/2023           $0.00    $3,525.51     $3,525.51
   2350835         3/16/2023           $0.00      $450.00       $450.00
   2351366         3/20/2023      $55,760.65        $0.00    $55,760.65
   2350841         3/16/2023       $4,083.75        $0.00     $4,083.75
   2350840         3/16/2023      $39,510.01        $0.00    $39,510.01
   2350839         3/16/2023         $371.25       $26.50       $397.75
   2350617         3/30/2023     $120,682.50    $9,247.69   $129,930.19
   2350837         3/16/2023       $1,361.25        $0.00     $1,361.25
   2350836         3/16/2023       $7,893.01        $0.00     $7,893.01
   2352101         3/27/2023      $32,968.15       $17.05    $32,985.20
   2350833         3/16/2023       $1,143.00        $0.00     $1,143.00
   2350499         3/15/2023      $11,993.75        $0.00    $11,993.75
             Credit On Account     ($675.00)        $0.00     ($675.00)
   2201004          7/10/2019    $187,860.37    $1,749.44   $189,609.81


                                                                          4
 Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 72 of 81


PAUL HASTINGS LLP – PROOF OF CLAIM – Exhibit B

   2204230        8/12/2019    $261,565.87         $560.70   $262,126.57
   2207897        9/16/2019    $218,331.00       $1,237.86   $219,568.86
   2210579       10/11/2019    $288,426.37       $1,896.53   $290,322.90
   2213578       11/11/2019     $56,460.37         $635.40    $57,095.77
   2217482       12/11/2019     $40,945.50         $128.70    $41,074.20
   2220634         1/8/2020      $9,590.62         $130.80     $9,721.42
   2223617        1/31/2020     $11,765.25         $365.40    $12,130.65
   2227116        3/16/2020      $1,170.00           $0.00     $1,170.00
   2230481         4/9/2020     $31,298.62           $0.50    $31,299.12
   2230482         4/9/2020     $18,253.12           $0.00    $18,253.12
   2230483         4/9/2020     $70,329.37           $0.00    $70,329.37
   2233828         5/8/2020      $3,144.39           $0.00     $3,144.39
   2233829         5/8/2020      $4,042.13           $0.00     $4,042.13
   2233830         5/8/2020     $16,437.39         $411.60    $16,848.99
   2237541        6/12/2020        $877.50           $0.00       $877.50
   2237542        6/12/2020        $877.50           $0.00       $877.50
   2237543        6/12/2020          $0.00          $34.20        $34.20
   2239563         7/7/2020      $4,758.75           $0.00     $4,758.75
   2239564         7/7/2020     $14,044.50           $0.00    $14,044.50
   2239565         7/7/2020      $6,069.37           $0.00     $6,069.37
   2243115        8/12/2020     $14,898.38           $0.00    $14,898.38
   2243116        8/12/2020     $97,237.13         $592.40    $97,829.53
   2243117        8/12/2020          $0.00         $135.60       $135.60
   2246051        9/10/2020        $192.38       $3,136.95     $3,329.33
   2246052        9/10/2020     $59,956.89           $0.00    $59,956.89
   2249594       10/12/2020      $1,669.50           $0.00     $1,669.50
   2249595       10/12/2020     $40,065.75         $220.00    $40,285.75
   2252863       11/13/2020      $9,966.38           $0.00     $9,966.38
   2252864       11/13/2020     $27,254.27           $0.00    $27,254.27
   2257207       12/18/2020     $18,263.25           $0.00    $18,263.25
   2257208       12/18/2020     $35,544.38         $446.00    $35,990.38
   2259892        1/14/2021      $6,883.88       $2,518.76     $9,402.64
   2259893        1/14/2021     $30,813.75          $55.00    $30,868.75
   2263681        2/28/2021      $2,125.13           $0.00     $2,125.13
   2263682        2/28/2021        $506.25          $55.00       $561.25
   2263683        2/28/2021      $4,340.25           $0.00     $4,340.25
   2265515        3/12/2021      $1,591.88           $0.00     $1,591.88
   2265516        3/12/2021      $1,828.13           $0.00     $1,828.13
   2268966        4/13/2021      $5,259.38           $0.00     $5,259.38
   2268967        4/13/2021      $6,019.88         $221.00     $6,240.88
   2272408        5/13/2021      $3,271.50           $0.00     $3,271.50
   2272409        5/13/2021        $506.25           $0.00       $506.25
   2275760        6/15/2021      $1,282.50           $5.00     $1,287.50
   2275761        6/15/2021      $1,991.25           $0.00     $1,991.25


                                                                           5
 Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 73 of 81


PAUL HASTINGS LLP – PROOF OF CLAIM – Exhibit B

   2279440        7/15/2021      $2,992.50      $276.51      $3,269.01
   2282966        8/13/2021        $315.00        $0.00        $315.00
   2282967        8/13/2021      $1,147.50        $0.00      $1,147.50
   2286854        9/20/2021      $5,715.00      $140.20      $5,855.20
   2290631       10/21/2021        $675.00        $0.00        $675.00
   2298188       12/21/2021        $630.00        $0.00        $630.00
   2302451        1/24/2022    $385,644.45      $520.60    $386,165.05
   2302452        1/24/2022        $630.00        $0.00        $630.00
   2304405        2/16/2022        $945.00       $31.20        $976.20
   2304406        2/16/2022      $1,687.50        $0.00      $1,687.50
   2304407        2/16/2022    $558,991.13    $1,079.50    $560,070.63
   2308224        3/18/2022     $54,531.02      $390.00     $54,921.02
   2308225        3/18/2022    $315,382.53   $15,714.74    $331,097.27
   2311062        4/14/2022     $77,698.13        $0.00     $77,698.13
   2311063        4/14/2022    $267,759.03      $601.80    $268,360.83
   2311064        4/14/2022     $65,982.40      $187.00     $66,169.40
   2311065        4/14/2022     $17,876.26       $45.00     $17,921.26
   2314175        5/11/2022      $7,070.63        $0.00      $7,070.63
   2314176        5/11/2022    $475,585.89        $0.00    $475,585.89
   2314182        5/11/2022     $17,272.15      $677.70     $17,949.85
   2314183        5/11/2022     $39,171.43        $0.00     $39,171.43
   2314184        5/11/2022     $21,532.50      $447.30     $21,979.80
   2319235        6/17/2022      $6,190.91      $196.20      $6,387.11
   2319236        6/17/2022     $33,867.00       $69.30     $33,936.30
   2319238        6/17/2022     $15,769.13        $0.00     $15,769.13
   2320455        6/27/2022     $31,034.26       $96.00     $31,130.26
   2319234        6/28/2022    $505,363.52      $685.41    $506,048.93
   2321805        7/13/2022      $4,647.39        $0.00      $4,647.39
   2321806        7/13/2022     $29,099.25      $276.30     $29,375.55
   2321824        7/13/2022     $14,108.64        $0.00     $14,108.64
   2321823        7/14/2022      $5,913.00        $0.00      $5,913.00
   2321943        7/14/2022    $455,974.97      $635.73    $456,610.70
   2322104        7/15/2022     $33,054.80      $132.14     $33,186.94
   2326034        8/15/2022     $13,531.51        $0.00     $13,531.51
   2326061        8/15/2022    $334,246.56      $961.29    $335,207.85
   2326062        8/15/2022    $120,838.51      $116.40    $120,954.91
   2326067        8/15/2022     $34,709.67        $0.00     $34,709.67
   2326068        8/15/2022      $9,849.39        $0.00      $9,849.39
   2329885        9/16/2022      $8,766.00        $0.00      $8,766.00
   2329887        9/16/2022      $4,279.50        $0.00      $4,279.50
   2329888        9/16/2022     $12,010.52        $0.00     $12,010.52
   2329861        9/22/2022     $49,305.42      $973.40     $50,278.82
   2329870        9/22/2022    $327,366.08      $546.46    $327,912.54
   2329886        9/22/2022    $120,256.90      $115.80    $120,372.70


                                                                         6
  Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 74 of 81


PAUL HASTINGS LLP – PROOF OF CLAIM – Exhibit B

    2333469           10/13/2022            $35,980.87              $0.00         $35,980.87
    2333470           10/13/2022            $64,688.63         $28,420.50         $93,109.13
    2333471           10/13/2022           $280,116.00            $461.40        $280,577.40
    2333472           10/13/2022            $56,109.38         $23,205.30         $79,314.68
    2333473           10/13/2022            $49,495.50              $0.00         $49,495.50
  Not invoiced       October 2022            $2,515.42              $0.00          $2,515.42
   at this time          Services
  Not invoiced       October 2022              $912.38               $0.00            $912.38
   at this time          Services
  Not invoiced       October 2022           $77,836.39               $0.00        $77,836.39
   at this time          Services
  Not invoiced       October 2022          $460,168.28               $0.00       $460,168.28
   at this time          Services
  Not invoiced       October 2022           $16,602.15               $0.00        $16,602.15
   at this time          Services
  Not invoiced       October 2022          $113,941.14               $0.00       $113,941.14
   at this time          Services
                                       $11,930,153.66         $319,090.43 $12,249,244.09

         NOTES: Claimant expressly reserves the right to amend or supplement this Claim
at any time and in any respect, including, without limitation, for the purpose of (i) setting
forth or changing the basis or the amount of the Claim, (ii) further describing the Claim,
(iii) providing further evidence relating to the Claim, and (iv) amending this Claim to the
extent necessary to preserve and assert any other rights belonging to Claimant.

        This Claim is filed under the compulsion of the bar date and is filed to protect
Claimant from forfeiture of claims by reason of the bar date. Filing this Claim is not and
shall not be deemed or construed as (a) an election of remedies, (b) a consent by Claimant
to the jurisdiction of any court with respect to proceedings, if any, commenced against or
otherwise involving Claimant, (c) a consent by Claimant to a jury trial in any court in any
proceeding as to any and all matters so triable herein or in any case, controversy or
proceeding related hereto, pursuant to 28 U.S.C. § 157(e) or otherwise, (d) a waiver of the
right of Claimant to a trial by jury in any proceeding so triable herein or in any case,
controversy or proceeding related hereto, notwithstanding the designation or not of such
matters as “core proceedings” pursuant to 28 U.S.C. § 157(b)(2), and whether such jury trial
is pursuant to statute or the United States Constitution, (e) a waiver of the right of
Claimant to have final orders in non-core matters entered only after de novo review by a
District Court judgment, (f) a waiver of the right of Claimant to have the reference withdrawn
by the District Court in any matter subject to mandatory or discretionary withdrawal, (g) a
waiver of any past, present or future event of default, (h) a waiver or limitation of any rights
of Claimant, including, without limitation, a waiver of rights, claims, actions, defenses, set-
offs or recoupments to which Claimant is or may be entitled under agreements, in law or in
equity, all of which rights, claims, actions, defenses, set-offs and recoupments are expressly
reserved by Claimant, or (i) an admission by Claimant that any property held by the Debtor
(or any debtor affiliate) is property of the estate. In addition, Claimant reserves its right to


                                                                                                7
  Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 75 of 81


PAUL HASTINGS LLP – PROOF OF CLAIM – Exhibit B

an administrative expense priority claim for all amounts set forth or owing which are due
and owing as administrative expenses pursuant to, inter alia, Sections 503, 507, or other
applicable provisions of the Bankruptcy Code.

        In executing and submitting this Claim, Claimant does not waive any obligation
owing to it, any right to any security held by it or for its benefit, any right to claim specific
assets, or any other right or rights of action that it has or may have against the Debtor or
any other person, including without limitation, rights against guarantors, officers or
directors.




                                                                                                8
Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 76 of 81




                            EXHIBIT E

                      Credit Bid Pay-Off Letter
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 77 of 81
                                                                                            Execution Version


September 21, 2023

Sorrento Therapeutics, Inc.
c/o Scintilla Pharmaceuticals, Inc.
4955 Directors Place
San Diego, CA 92121
Attn: Mohsin Y. Meghji, Chief Restructuring Officer
Email: mmeghji@m3-partners.com

        Re: Credit Bid Pay-Off Letter

Dear Mr. Meghji:

         Reference is made to that certain (i) Junior Secured, Super-Priority Debtor-in-Possession Loan and
Security Agreement, dated as of July 28, 2023 (as may have been amended, extended, supplemented,
modified or restated from time to time and as may be further amended, supplemented or otherwise modified
from time to time, the “Loan Agreement”) by and among Sorrento Therapeutics, Inc., a Delaware
corporation (“Sorrento”), Scintilla Pharmaceuticals, Inc., a Delaware corporation (together with Sorrento,
each a “Borrower” and collectively, the “Borrowers”) and Scilex Holding Company, a Delaware
corporation (“Lender”), (ii) Intellectual Property Security Agreement, dated as of July 28, 2023, by
Borrowers in favor of Lender (the “Security Agreement”; the Loan Agreement together with the Security
Agreement, any other Loan Document (as defined in the Loan Agreement) and any other notes, security
agreements, mortgages, pledge agreements, guarantees or other agreements, documents, certificates or
instruments related thereto, in each case, as amended, restated, supplemented or otherwise modified from
time to time, the “Transaction Documents”), (iii) the Order (I) Approving Sale of Scilex Stock to Scilex
Holdings Company Free and Clear of All Liens, Claims, Interests, and Encumbrances, (II)
Conditionally Vacating the Oramed Sale Order, and (III) Granting Related Relief [Docket No.
1316] (the “Scilex Sale Order”), entered by the Bankruptcy Court after the hearing held on September
12, 2023 in the Chapter 11 Cases, and (iv) the Stock Purchase Agreement, dated as of the date hereof,
by and among the Lender, as purchaser, and Sorrento, as seller (the “Stock Purchase Agreement”),
which documents the sale of certain Purchased Securities (as defined in the Stock Purchase Agreement)
(the “Stock Purchase”). Capitalized terms used herein but not otherwise defined herein shall have the
meanings ascribed to such terms in the Loan Agreement.

         Pursuant to the Scilex Sale Order and the Stock Purchase Agreement, the Lender has made a credit
bid, on a dollar-for-dollar basis, pursuant to Section 363(k) of the Bankruptcy Code, in respect of the
Obligations (including, but not limited to, any contingent indemnity and reimbursement obligations) of the
Borrowers under the Loan Agreement, accrued and outstanding as of the September 21, 2023 (the “Pay-
Off Amount”). The Pay-Off Amount is part of the Purchase Price (as defined in the Stock Purchase
Agreement) and will be fully satisfied at Closing (as defined in the Stock Purchase Agreement). Anything
to the contrary contained herein notwithstanding, the Borrowers agree that the on the date hereof the DIP
Holdback Amount is permitted to, and shall be applied to, Legal Expenses of Lender incurred in connection
with the Transaction Documents, which Legal Expenses shall fully utilize the DIP Holdback Amount and
which DIP Holdback Amount shall not be available for any other purpose.

         Subject to, and effective immediately upon, Closing, without further action on the part of the parties
hereto, the Loan Agreement and the Transaction Documents (other than this letter agreement) shall be
automatically terminated, and all obligations thereunder shall be paid and discharged in full and shall be
deemed terminated all without any further action being required to effectuate the foregoing.




LEGAL_US_W # 117699170.5
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 78 of 81



         Subject to and effective as of the occurrence of the Closing, Lender hereby authorizes Borrowers
or their designees to give notice of, record or file, as applicable, the termination of the UCC Financing
Statements and the Intellectual Property Security Agreement listed on Schedule I attached hereto and to file
such other lien release documents as the Borrowers may deem necessary or reasonably appropriate, and
which is in form approved by Lender in its reasonable discretion, in order to evidence or otherwise give
public notice of such collateral terminations and releases. Promptly after Closing, Lender shall execute and
deliver to the applicable Borrower such terminations, releases and satisfactions necessary or reasonably
requested by such Borrower or its designees to evidence the release of all other liens, security interests,
pledges and other interests granted to Lender as security for the Transaction Documents; provided,
however, that all costs and expenses of Lender with respect to the preparation, execution or recording of
any terminations or releases in connection with this letter shall be borne solely by the Borrowers, whether
incurred prior to or after Closing.

        This letter may be executed by any of the parties hereto on separate counterparts, and all of said
counterparts taken together shall be deemed to constitute one and the same instrument. Delivery of an
executed signature page of this letter by facsimile or other electronic transmission shall be effective as
delivery of a manually executed counterpart hereof.

         This letter shall be governed by the laws of the State of New York and shall be effective only when
signed by the Lender and accepted by the Borrowers by its due execution in the space provided below. This
letter sets forth the entire agreement among the parties relating to the subject matter pertaining hereto, and
no term or provision hereof may be amended, changed, waived, discharged or terminated orally or
otherwise, except in writing signed by each such party and shall be binding upon and inure to the benefit
of the parties hereto and their respective successors and assigns.

      It is acknowledged and agreed that this document constitutes a “Loan Document” under the Loan
Agreement.

                                    [SIGNATURE PAGE FOLLOWS]




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                   Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 79 of 81



                                                              Very truly yours,

                                                              SCILEX HOLDING COMPANY


                                                              By: _________________________
                                                                Name: Jaisim Shah
                                                                Title: Chief Executive Officer and President




                                            [Signature Page to Credit Bid Pay-Off Letter]
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 80 of 81




ACKNOWLEDGED AND ACCEPTED:

SORRENTO THERAPEUTICS, INC.
SCINTILLA PHARMACEUTICALS, INC.


By: ____________________________
    Name: Mohsin Y. Meghji
    Title: Chief Restructuring Officer




                               [Signature Page to Credit Bid Pay-Off Letter]
      Case 23-90085 Document 1356 Filed in TXSB on 09/21/23 Page 81 of 81



                                            Schedule I

           UCC Financing Statements, Control Agreements, and IP Security Agreements

    1. UCC-1 Financing Statement no. 2023 52333977 filed with the Secretary of State of the State of
       Delaware on July 31, 2023, against Sorrento Therapeutics, Inc. in favor of Scilex Holding
       Company.

    2. UCC-1 Financing Statement no. 2023 5234116 filed with the Secretary of State of the State of
       Delaware on July 31, 2023, against Scintilla Pharmaceuticals, Inc. in favor of Scilex Holding
       Company.

    3. Intellectual Property Security Agreement, dated July 28, 2023, among Scilex Holding Company,
       Sorrento Therapeutics, Inc., and Scintilla Pharmaceuticals, Inc.




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